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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------- x
                                    :
 UNITED STATES OF AMERICA
                                    :
           - v. -
                                    :               S1 23 Cr. 430 (KPF)
 ROMAN STORM,
                                    :
                       Defendant.
                                    :
 ---------------------------------- x




                      THE GOVERNMENT’S MOTIONS IN LIMINE




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       The Government respectfully submits these motions in limine in advance of the trial of

defendant Roman Storm scheduled to begin on July 14, 2025.

                                  FACTUAL BACKGROUND

       On November 15, 2024, a grand jury in this District returned a three-count superseding

indictment charging the defendant with conspiracy to commit money laundering, conspiracy to

operate an unlicensed money transmitting business, and conspiracy to violate United States

sanctions relating to the Democratic People’s Republic of Korea (the “DPRK” or “North Korea”).

The charges arise out of the defendant’s ownership, development, marketing, and operation of a

cryptocurrency mixing service known as Tornado Cash (the “Tornado Cash service”).1

       The Tornado Cash service combined multiple unique features to execute anonymous

financial transactions in various cryptocurrencies for its customers. Claiming to offer the Tornado

Cash service as a “privacy” service, the defendant in fact knew that it was a haven for criminals to

engage in large-scale money laundering and sanctions evasion. Indeed, as the defendant well knew,

a substantial portion of the funds the Tornado Cash service processed were criminal proceeds that

were passed through the Tornado Cash service for purposes of concealment. The defendant also

knew that the Tornado Cash service received funds from, and provided services to, the Lazarus

Group, a U.S.-sanctioned North Korean cybercrime organization, by receiving, transferring, and

dealing in cryptocurrency from an Ethereum wallet that was publicly attributed to the Lazarus

Group and designated as blocked property by the United States Department of the Treasury’s

Office of Foreign Assets Control (“OFAC”).



1
  The Indictment charges two objects of the unlicensed money transmitting charge—that the
business failed to register with FinCEN and that it knowingly transmitted criminal proceeds. The
Government is only proceeding on the second of these charges.

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         The Government expects to call, among other witnesses, witnesses who participated in the

operation of the Tornado Cash service, vendors who provided critical support for the Tornado

Cash service, a cooperating witness who used the Tornado Cash service to launder proceeds of a

fraudulent scheme, and victims of various criminal exploits whose stolen funds were laundered

through the Tornado Cash service, including victims who directly contacted the defendant to notify

him that the Tornado Cash service was being used to launder criminal proceeds and ask for his

help.

         The Government will also introduce extensive documentary evidence of the defendant’s

crimes, including text messages and email messages in which he coordinated and directed the

operation of the Tornado Cash service, documents in which he received notice of and expressed

his knowledge that he was facilitating large-scale money laundering and sanctions violations and

continued to profit from these crimes, and financial and business records documenting his

operation of the service and payment for certain features of it. In addition, the Government will

introduce expert testimony, including the testimony of a special agent with the Federal Bureau of

Investigation who has traced more than $1 billion in criminal proceeds into the Tornado Cash

service during the charged time period, the testimony of a cryptocurrency and computer code

expert who will explain how the Tornado Cash service operated and which features the defendant

and his co-conspirators controlled and profited from, and the testimony of a special agent with the

Internal Revenue Service-Criminal Investigation (“IRS-CI”) who has traced millions of dollars of

proceeds from the Tornado Cash service into purchases made by the defendant and cryptocurrency

wallets controlled by the defendant.




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                                            ARGUMENT

I.     Statements of the Defendant’s Co-conspirators and Agents Are Not Barred by the
       Rule Against Hearsay

       At trial, the Government will seek to introduce for their truth out-of-court statements by

the defendant’s two Tornado Cash co-founders, Roman Semenov and Alexey Pertsev, as well as

certain software developers, marketers, and others who worked for the three Tornado Cash

founders. Such statements are not barred by the rule against hearsay.

       A. Applicable Law

       1. The Rule Against Hearsay

       The Federal Rules of Evidence define hearsay as a declarant’s out-of-court statement

“offer[ed] in evidence to prove the truth of the matter asserted in the statement.” Fed. R. Evid.

801(c). Hearsay is admissible only if it falls within an enumerated exception. Fed. R. Evid. 802.

However, “[i]f the significance of an offered statement lies solely in the fact that it was made, no

issue is raised as to the truth of anything asserted, and the statement is not hearsay.” Fed. R. Evid.

801(c) advisory committee’s note. Thus, a statement offered to show its effect on the listener is

not hearsay. Id.; see also United States v. Dupree, 706 F.3d 131, 137 (2d Cir. 2013) (“We have

repeatedly held that a statement is not hearsay where, as here, it is offered, not for its truth, but to

show that a listener was put on notice.”); George v. Celotex Corp., 914 F.2d 26, 30 (2d Cir. 1990)

(“To be sure, an out of court statement offered not for the truth of the matter asserted, but merely

to show that the defendant was on notice of a danger, is not hearsay.”).

       2. Rule 801(d)(2)(D)

       Federal Rule of Evidence 801(d)(2)(D) provides that “[a] statement is not hearsay if … the

statement is offered against an opposing party and … was made by the party’s agent or employee

on a matter within the scope of that relationship and while it existed.” To admit a statement under
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this rule, the court must find “(1) the existence of the agency relationship, (2) that the statement

was made during the course of the relationship, and (3) that it relates to a matter within the scope

of the agency.” Feis v. United States, 394 F. App’x 797, 799 (2d Cir. 2010) (quoting Pappas v.

Middle Earth Condo. Ass’n, 963 F.2d 534, 537 (2d Cir. 1992)). As the Second Circuit has

explained, “admissibility under this rule should be granted freely,” and there is a “liberal” standard

for admissibility rooted in the understanding that agents and employees are usually the people

“best informed about certain acts committed in the course of [their] employment.” Pappas, 963

F.2d at 537.

       3. Rule 801(d)(2)(E)

       Federal Rule of Evidence 801(d)(2)(E) provides in relevant part that “[a] statement is not

hearsay if … the statement is offered against an opposing party and … was made by the party’s

co-conspirator during and in furtherance of the conspiracy.” To admit a statement under this rule,

a district court must find two facts by a preponderance of the evidence: (1) that a conspiracy that

included the defendant and the declarant existed; and (2) that the statement was made during the

course of, and in furtherance of, that conspiracy. Bourjaily v. United States, 483 U.S. 171, 175

(1987); United States v. Gigante, 166 F.3d 75, 82 (2d Cir. 1999). “In determining the existence

and membership of the alleged conspiracy, the court must consider the circumstances surrounding

the statement, as well as the contents of the alleged coconspirator’s statement itself.” United States

v. Gupta, 747 F.3d 111, 123 (2d Cir. 2014). When determining whether the predicate conspiracy

has been established, the district court is not bound by the Rules of Evidence, see Fed. R. Evid.

104(a), and “the district court may consider the hearsay statement itself” as evidence of “the

existence of a conspiracy.” United States v. Padilla, 203 F.3d 156, 161 (2d Cir. 2000) (citing

Bourjaily, 483 U.S. at 181). “To be in ‘furtherance’ of a conspiracy, a statement must in some way

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have been designed to promote or facilitate achievement of the goals of that conspiracy.” United

States v. Rivera, 22 F.3d 430, 436 (2d Cir. 1994). Under this standard, a co-conspirator statement

is admissible if it “can reasonably be interpreted as encouraging a co-conspirator or other person

to advance the conspiracy, or as enhancing a co-conspirator or other person’s usefulness to the

conspiracy.” United States v. Tarantino, 846 F.2d 1384, 1412 (D.C. Cir. 1988).

       4. Rule 804(b)(3)

       Federal Rule of Evidence Rule 804(b)(3) excepts from the hearsay rule a statement by an

unavailable declarant that: “(A) a reasonable person in the declarant’s position would have made

only if the person believed it to be true because, when made, it . . . had so great a tendency . . . to

expose the declarant to civil or criminal liability; and (B) is supported by corroborating

circumstances that clearly indicate its trustworthiness.” This rule “is founded on the commonsense

notion that reasonable people, even reasonable people who are not especially honest, tend not to

make self-inculpatory statements unless they believe them to be true.” Williamson v. United States,

512 U.S. 594, 599 (1994).

       In evaluating whether a particular statement is admissible pursuant to Rule 804(b)(3), “the

court conducts an adequately particularized analysis to determine whether a reasonable person in

the declarant’s shoes would have perceived the statement as detrimental to his or her own penal

interest in light of all the surrounding circumstances.” Dupree, 870 F.3d at 80. “A statement will

satisfy [the Rule’s] requirement that it ‘tended’ to subject the declarant to criminal liability if it

would be probative in a trial against the declarant.” United States v. Persico, 645 F.3d 85, 102 (2d

Cir. 2011).




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       B. Discussion

               1. Statements by the Other Tornado Cash Founders Are Not Hearsay

       The Government intends to offer into evidence documents, including text messages and

emails, made contemporaneously with the conduct at issue in this trial by the defendant’s two co-

founders of the Tornado Cash service, Roman Semenov and Alexey Pertsev, in furtherance of the

charged conspiracies. These materials are therefore not precluded by the rule against hearsay.

       As an initial matter, the evidence at trial will readily show by a preponderance that the

defendant conspired with Semenov and Pertsev to operate the Tornado Cash service, and that the

operation of the Tornado Cash service during the charged time period was in furtherance of the

conspiracies charged in the Indictment.2 As alleged in the Indictment, the defendant, Semenov,

and Pertsev jointly developed, marketed, and operated the Tornado Cash service. That allegation

will be supported by abundant trial evidence, including, among other things: an investment

presentation prepared by the defendant that identified himself, Semenov, and Pertsev as the “team”

behind the Tornado Cash service; the defendant’s various public statements identifying himself

and the other two founders; documents identifying the three founders as the owners of the Tornado

Cash service’s code repositories, the website, the domain for the user interface, the bank account

used to pay business expenses for the Tornado Cash service, and other aspects of the service; and

dozens of emails and text messages in which the three founders communicate about their day-to-

day operation of the Tornado Cash service.

       The statements of Semenov and Pertsev that the Government will seek to admit are



2
  Pertsev has been convicted in Dutch court for money laundering as a result of his operation of
the Tornado Cash service with the defendant and Semenov. The Government’s understanding is
that Pertsev’s conviction is currently on appeal in the Dutch courts.

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statements made in furtherance of the operation of the Tornado Cash service during the period in

which the Tornado Cash service was being developed and operated in furtherance of the

conspiracies charged in the Indictment, such as statements in which Semenov and Pertsev

communicated with each other, with Storm, and with others about the fact that the service was

being used to transmit and conceal the proceeds of various crimes, and about various business

operations, such as plans to upgrade the service, ongoing performance issues with the service, and

hiring and supervision of employees and contractors who worked for the service. Statements such

as these are clearly “designed to promote or facilitate achievement of the goals of [the]

conspiracy.” Rivera, 22 F.3d at 436; see also United States v. Persing, 436 F. App’x 13, 19 (2d

Cir. 2011) (affirming the trial court’s conclusion that co-conspirator’s notes, which were “designed

to assist him in conducting his loan-shark business . . . were taken during the course of and in

furtherance of that conspiracy”). Statements in which the co-founders acknowledge that the

business is engaged in transactions in criminal proceeds are also admissible as statements against

interest under Rule 804(b)(3).

       To the extent the defense were to argue that the statements of his fellow Tornado Cash

founders document legitimate business discussions as opposed to discussions designed to further

a criminal scheme, that fact (which the Government disputes) would not undermine the

admissibility of those materials under Rule 801(d)(2)(D), because the rule authorizes the admission

of statements designed to further a joint venture with the defendant, whether or not the goal of that

venture is criminal. See United States v. Russo, 302 F.3d 37, 45 (2d Cir. 2002) (“the objective of




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the joint venture that justifies deeming the speaker as the agent of the defendant need not be

criminal at all.”).3

                2. Statements by Tornado Cash Developers and Marketers Are Not Hearsay

        Statements made by individuals who were employed by the Tornado Cash service, such as

software developers and marketers, as reflected in documents or as described during trial

testimony, are statements of the defendant’s agents under Rule 801(d)(2)(D) and therefore not

hearsay.

        The Tornado Cash service was developed under the auspices of Peppersec Inc., a

corporation that was incorporated in Delaware and headquartered in Seattle, at the defendant’s

residence. The defendant, Semenov, and Pertsev were equal shareholders, and the defendant was

the CEO. While the Tornado Cash service itself was not a formally incorporated entity, nothing in

Rule 801(d)(2)(D) requires any particular type of entity structure to establish an agency

relationship. Here, the evidence at trial will show that the three Tornado Cash founders, under

the auspices of Peppersec, hired and supervised a number of people to perform functions for the

Tornado Cash service. For instance, the defendant and his two co-founders recruited and employed

software developers to maintain, update, and improve the features of the Tornado Cash service,

including the user interface and various other features that were deployed over time, and paid their

employees out of a Peppersec bank account. The evidence will include messages in which the

defendant and his co-founders instructed the developers on how to update the Tornado Cash

service, as well as messages in which the developers describe the work they are doing and the

changes to the functionality of the service. These statements by the developers, even if the



3
  Certain of these materials may well also be covered by the so-called business records exception
to the hearsay rule embodied in Federal Rule of Evidence 803(6).
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developers were not viewed as co-conspirators (which in many cases they were), are plainly

statements of agents of the defendant as one of the three executives overseeing the Tornado Cash

service. See In re Reserve Fund Sec. Litig., No. 09 Civ. 4346 (PGG), 2012 WL 12354233, at *7-8

(S.D.N.Y. Oct. 3, 2012) (statements made by an employee of an entity are admissible when offered

against the person who controls the entity).

       In addition, the evidence at trial will show that the defendant recruited others to perform

other functions for the Tornado Cash service. For example, the defendant recruited one individual

(the “signatory”) to serve as one of several signatories for a cryptocurrency wallet that was used

to pay various business expenses in connection with the Tornado Cash service, and the signatory

communicated both with the defendant and with the wallet’s other signatories regarding various

Tornado Cash service business operations. In addition, the defendant and his co-founders

informally contracted with two people (the “marketers”) who engaged in marketing and

promotional efforts for the Tornado Cash service, and the defendant instructed the signatory to

make payments to the marketers for their work promoting the Tornado Cash service. In turn, the

marketers published articles announcing upgrades to the service and providing information to

customers about how to use the service. Those statements by the paid marketers—made under the

oversight of the defendant in connection with the Tornado Cash service—are therefore admissible

against the defendant under Rule 801(d)(2)(D).

II.    The Defendant’s Own Statements May Be Offered by the Government but Not the
       Defendant, Subject to the Rule of Completeness

       The Government anticipates offering evidence of certain of the defendant’s out-of-court

statements, including in Telegram messages and emails with his co-conspirators, victims, and third

parties and in public interviews. The Government will confer with defense counsel prior to trial

and endeavor to resolve any rule-of-completeness issues without the need for Court resolution. To
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the extent the parties are unable to come to an agreement on their own, under the legal framework

set forth below, the defendant should be precluded from offering additional portions of out-of-

court statements, and from eliciting testimony regarding the defendant’s statements.

       Pursuant to Rule 801(d)(2)(A) of the Federal Rules of Evidence, a defendant’s out-of-court

statement is not hearsay when offered by the Government. Fed. R. Evid. 801(d)(2)(A) (“A

statement is not hearsay if … [it] is offered against a party and is the party’s own statement.”); see

also, e.g., United States v. Marin, 669 F.2d 73, 84 (2d Cir. 1982) (“[U]nder Rule 801(d)(2)(A),” a

defendant’s statement offered by the Government “is not hearsay, because it is simply a statement

of the opposing party.”). The defendant, however, does not have a parallel ability to offer his own

statement into evidence. “When the defendant seeks to introduce his own prior statement for the

truth of the matter asserted, it is hearsay, and it is not admissible.” Marin, 669 F.2d at 84; see also

United States v. Yousef, 327 F.3d 56, 153 (2d Cir. 2003) (holding that defendant “could have

testified to everything asserted in his statement, [but] he could not offer the document itself for the

truth of the matter asserted”); United States v. Davidson, 308 F. Supp. 2d 461, 480 (S.D.N.Y.

2004) (in general, a defendant may not “attempt to get his side of the . . . story in front of the jury

without himself testifying and opening himself up to cross-examination.”).

       Notwithstanding the hearsay bar,4 a defendant may in some limited circumstances invoke

the “rule of completeness” to require the introduction of additional portions of his own out-of-

court statement when the Government offers excerpts of it. See Fed. R. Evid. 106. “Under this

principle, even though a statement may be hearsay, an ‘omitted portion of [the] statement must be



4
  Federal Rule of Evidence 106 clarifies that the rule of completeness trumps the hearsay rules;
though the defendant must still demonstrate that the statement is required under the rule of
completeness.

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placed in evidence if necessary to explain the admitted portion, to place the admitted portion in

context, to avoid misleading the jury, or to ensure fair and impartial understanding of the admitted

portion.’” United States v. Johnson, 507 F.3d 793, 796 (2d Cir. 2007) (quoting United States v.

Castro, 813 F.2d 571, 575–76 (2d Cir. 1987)); see also United States v. Jackson, 180 F.3d 55, 73

(2d Cir. 1999) (same).

       The Government is under no obligation to offer all portions of a statement when it offers

inculpatory admissions. “The completeness doctrine does not . . . require the admission of portions

of a statement that are neither explanatory of nor relevant to the admitted passages.’” Johnson, 507

F.3d at 796 (quoting Jackson, 180 F.3d at 73). This rule is strictly applied, leading the Second

Circuit to hold, for example, that a defendant could not introduce a portion of his confession

relating “to the execution of a robbery,” where the portion introduced by the Government

concerned only “plans to execute the robbery.” Johnson, 507 F.3d at 796; United States v. Lumiere,

16 Cr. 483 (JSR) (S.D.N.Y), Dkt. No. 62 at 6 (Jan. 6, 2017) (describing the rule of completeness

as a “narrowly drawn rule” and granting Government motion to preclude prior defendant out-of-

court statements). Ultimately, the burden rests with the defendant to demonstrate that the portions

of the statement he seeks to offer are necessary to clarify or explain the portions the Government

intends to offer. United States v. Glover, 101 F.3d 1183, 1190 (7th Cir. 1996) (“[T]he proponent

of the additional evidence sought to be admitted must demonstrate its relevance to the issues in the

case, and must show that it clarifies or explains the portion offered by the opponent.”).

       Put another way, a defendant is not entitled to introduce the exculpatory portions of a

communication in order to “complete” the story simply because the Government offered an

incriminating portion of that communication. See United Sates v. Terry, 702 F.2d 299, 314 (2d

Cir. 1983) (“Rule 106 does not render admissible evidence that is otherwise inadmissible”); United

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States v. Gonzalez, 399 Fed. App’x 641, 645 (2d Cir. 2010) (“[T]he rule of completeness is not a

mechanism to bypass hearsay rules for any self-serving testimony.”); Jackson, 180 F.3d at 73

(affirming district court’s ruling that Rule 106 did not justify admission of defendant’s “own self-

serving statements”); United States v. Vallejos, 742 F.3d 902, 905 (9th Cir. 2014) (court properly

excluded redacted portions offered to show the jury the “flavor of the interview,” to “humanize”

the defendant, to prove his “character,” and to convey to the jury the voluntariness of the

statement); United States v. Liera-Morales, 759 F.3d 1105, 1111 (9th Cir. 2014) (agent testified

about incriminating statements made by defendant in interview; court properly precluded defense

from introducing exculpatory statements from the same interview); United States v. Dorrell, 758

F.2d 427, 435 (9th Cir. 1985) (“[R]emoving [defendant’s] explanation of the political and religious

motivations for his actions did not change the meaning of the portions of his confession submitted

to the jury. The redaction did not alter the fact that he admitted committing the acts with which he

was charged.”). In particular, defendants are not entitled to introduce statements that are merely

“post-hoc explanations for prior conduct, which [do] not alter the meaning” of the admitted

statements. United States v. Lange, 834 F.3d 58, 79 (2d Cir. 2016).

III.    The Court Should Permit the Authentication of Certain Records Under Rules
        902(11), (13), and (14)

        During meet-and-confer conferences, the defendant has not yet committed to the

authentication of routine business and electronic records by stipulation. Accordingly, the

Government intends to authenticate certain records that were created and maintained in the regular

course of business by certain third parties pursuant to certifications that comply with Federal Rule

of Evidence 902(11), and certain other records through records custodians, who, for the reasons

set forth below, should be subject to limited cross-examination only, consistent with the Rules of

Evidence.
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       A. Certain Third-Party Business Records May Be Authenticated under Rule 902(11)

          Records of regularly conducted activity that meet the necessary conditions to qualify under

the hearsay exception in Federal Rule of Evidence 803(6) may be authenticated, among other

methods, by a certification that complies with Federal Rule of Evidence 902(11) for records stored

domestically. Fed. R. Evid. 803(6)(D). “Rule 902(11) extends Rule 803(6) by allowing a written

foundation in lieu of an oral one.” United States v. Rom, 528 F. App’x 24, 27 (2d Cir. 2013); see

also United States v. Ayelotan, 917 F.3d 394, 402 (5th Cir. 2019) (“Records are self-authenticating

if they include a custodian certification that the records ‘meet[] the requirements of Rule

803(6)(A)-(C).’”). Specifically, Rule 902(11) provides, in relevant part, that “[t]he original or a

copy of a domestic record that meets the requirements of Rule 803(6)(A)-(C), as shown by a

certification of the custodian or another qualified person” is self-authenticating and requires no

extrinsic evidence of authenticity to be admitted. Prior to trial, “the proponent must give an adverse

party reasonable written notice of the intent to offer the record—and must make the record and

certification available for inspection—so that the party has a fair opportunity to challenge them.”

Id.5

          A record of regularly conducted activity meets the necessary conditions to qualify as a

business record under Rule 803(6) when (1) “the record was made at or near the time by—or from

information transmitted by—someone with knowledge,” (2) “the record was kept in the course of

a regularly conducted activity of a business,” and (3) “making the record was a regular practice of

that activity.” Fed. R. Evid. 803(6). “A business record may include data stored electronically on



5
  “[A] custodian’s certification pursuant to Federal Rule of Evidence 902(11) is not testimonial,”
and therefore use of such certifications to authenticate business records does not violate the
Confrontation Clause. United States v. Weigand, No. 20 Cr. 188 (JSR), 2021 WL 568173, at *1
(S.D.N.Y. Feb. 14, 2021).
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computers and later printed out for presentation in court, so long as the original computer data

compilation was prepared pursuant to a business duty in accordance with regular business

practice.” Potamkin Cadillac Corp. v. B.R.I. Coverage Corp., 38 F.3d 627, 632 (2d Cir. 1994).

       The Government expects to offer into evidence certain records that were created and

maintained in the regular course of business by certain third parties, including, at a minimum, the

following records that were provided to the Government pursuant to a subpoena or warrant or

voluntarily:

              Communications, public posts, subscriber records, access logs, and IP logs

               maintained by certain internet service providers, including Google LLC (“Google”)

               and X Corp. (formely known as “Twitter”);

              Transaction records and account records produced by certain financial institutions,

               including Rho, JPMorgan Chase, and Evolve Bank & Trust;

              Transaction records, account records, IP logs, and access logs produced by certain

               other companies, including Infura, Alchemy, GitHub, Piñata, BitMart, and the

               Ronin Network; and

              Documents from a venture capital firm that invested in the Tornado Cash service

               (“Venture    Capital   Fund-1”),      regarding   the   investment   and    ongoing

               communications with the Tornado Cash founders about the business.

       The Government has generally produced the relevant certifications for these records in

discovery in this case and is unaware of any basis to challenge these records’ status as business

records. To the extent there are any records that the Government intends to use at trial for which

the certification has not yet been produced, the Government will produce the relevant certification

in advance of trial. In the event that no stipulations as to authenticity are reached, such evidence
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may be authenticated through the produced certifications under Rule 902(11) and Rule 803(6).

       B. Screenshots from the Wayback Machine May Be Authenticated Under Rules
          902(13) and (14)

       The Federal Rules of Evidence were amended in 2017 to add Rule 902(13) and 902(14),

to allow the use of a certification to authenticate certain electronic evidence, without requiring a

live witness. Rule 902(13) addresses the authentication of “a record generated by an electronic

process or system that produces an accurate result, as shown by a certification of a qualified person

that complies with the certification requirements of Rule 902(11) or (12).” Just as business records

are certified by Rule 902(11), an electronic record is also deemed to be self-authenticating and

requires no extrinsic evidence of authenticity for it to be admitted into evidence, as long as there

is a “certification of a qualified person” that is consistent with the requirements of Rule 902. See

Fed. R. Evid. 902(13) (2017 amendment). Similarly, Rule 902(14) provides for self-authentication

of copied data if it is certified by a qualified person as “[d]ata copied from an electronic device,

storage medium, or file, if authenticated by a process of digital identification.” The purpose of the

rule, as described by the Advisory Committee, is to set out “a procedure by which parties can

authenticate data copied from an electronic device, storage medium, or an electronic file, other

than through the testimony of a foundation witness.” Fed R. Evid. 902(14) advisory committee

note to 2017 amendment. As the Committee reasoned, “the expense and inconvenience of

producing an authenticating witness for this evidence is often unnecessary.” Id. To satisfy the

requirements of the rule, the proponent “must present a certification containing information that

would be sufficient to establish authenticity were that information provided by a witness at trial.”

Id. These new rules did not change the standard of authentication but instead made it easier for

parties to authenticate certain types of electronic evidence and to provide “a procedure under which

the parties can determine in advance of trial whether a real challenge to authenticity will be made,
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and can then plan accordingly.” Fed. R. Evid. 902(13) advisory committee’s note to 2017

amendment.

       The Government intends to introduce at trial records from the Internet Archive’s Wayback

Machine, which documents and stores copies of websites archived at various points in time and

allows users to retrieve and view those records, offering a snapshot of the website’s contents at a

given point in time. This will include preserved versions of the Tornado Cash website as it

appeared at different points in time during the charged conspiracy. To support the admission of

the records, the Government will obtain a certification complying with Federal Rules of Evidence

902(11) and 902(13). The information from the Wayback Machine is freely and publicly available,

but the Internet Archive requests a subpoena to produce the necessary certification. Absent a

stipulation between the parties, the Government will issue a trial subpoena to obtain the

certification from an official of the Internet Archive.

       Before the 2017 amendments that added Rules 902(13) and 902(14), courts routinely

admitted screenshots from the Wayback Machine based on testimony or affidavit from a

representative of the website. See, e.g., United States v. Gasperini, 894 F.3d 482, 490 (2d Cir.

2018) (affirming the district court’s decision to allow the government to introduce screenshots

from the Wayback Machine after authentication by a witness representing the website) (citing

United States v. Bansal, 663 F.3d 634, 667-68 (3d Cir. 2011)); Foster v. Lee, 93 F.Supp.3d 223,

232 (S.D.N.Y. 2015).6 As noted above, the amendments adding Rules 902(13) and 902(14) were



6
  See also Klayman v. Judicial Watch, Inc., 299 F. Supp. 3d 141, 147-48 (D.D.C. 2018); Telewizja
Polska USA, Inc. v. Echostar Satellite Corp., No. 02 C 3293, 2004 WL 2367740, *6 (N.D. Ill. Oct.
15, 2004); Masters v. UHS of Delaware, Inc., No. 4:06CV1850-DJS, 2008 WL 5600714, at *2
(E.D. Mo., October 21, 2008). Citing to the proposed Rule 902(13) in a handbook setting out the
best practices for authenticating electronic evidence, the authors—including The Honorable Paul

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enacted to create a procedure to authenticate documents like screenshots from the Wayback

Machine for the purpose of eliminating the often unnecessary “expense and inconvenience of

producing a witness to authenticate an item of electronic evidence.” Fed. R. Evid. 902(13)

advisory committee note to 2017 amendment. Indeed, at least one other court has utilized this

process to authenticate screenshots from the Wayback Machine. See United States v. Bondars, No.

1:16-CR-228, 2018 WL 9755074, at *2 (E.D. Va. Aug. 20, 2018) (Order on Motion in Limine).

(“[T]he Wayback Machine screenshots introduced by the Government comport with the

requirements and purpose of Rule 902(13).”).

       C. Records from Publicly Available Blockchains May Be Authenticated Under Rules
          902(11) and (13)

       Cryptocurrency transactions are recorded on a distributed ledger known as the blockchain.

Transactions are processed electronically by the computers that compose the peer-to-peer network,

which are referred to as “nodes.” A transfer of cryptocurrency is conducted by transmitting an

instruction to a node on the network, which then announces the transfer to the other nodes on the

network. Each node stores the entire blockchain and updates it when new transactions are

announced in blocks. Typically, and for the cryptocurrencies at issue at this trial, the entire

blockchain is publicly available and can be inspected by downloading it from the network that

maintains the blockchain.

       Due to these characteristics of the blockchain, records of cryptocurrency transactions can



W. Grimm, a widely respected authority in the field of electronic evidence—recognized a printout
from the Wayback Machine as a means of authenticating website postings and advised, “[T]he
reliability of the Wayback machine process could be established by a certificate of the Internet
Archive official, rather than in-court testimony.” Hon. Paul Grimm, Gregory Joseph & Daniel
Capra, Best Practices for Authenticating Digital Evidence, pp. 16-17, n. 50, West Academic
Publishing (2016).

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be admitted through a certification that satisfies Rules 902(11) and 902(13). Blockchain records

readily meet the requirements of Rule 803(6)(A)-(C). As explained above, a blockchain is a

publicly accessible digital ledger composed of blocks of cryptographically signed transactions

combining to form a historical record of every transaction that has utilized that blockchain’s

technology. See, e.g., SEC v. Coinbase, Inc., 726 F. Supp. 3d 260, 271 (S.D.N.Y. 2024), motion to

certify appeal granted, No. 23 Civ. 4738 (KPF), 2025 WL 40782 (S.D.N.Y. Jan. 7, 2025) (“A

blockchain is a database spread across a network of computers that utilizes a complex software

protocol to track every transaction on that network, providing a decentralized ledger that operates

as a record of the ownership and transfer of all tokens in that network.”).

       New blocks are added to the blockchain after validation and after undergoing a consensus

decision to expose and resist tampering or manipulation of the data. This activity takes place, is

stored on, and is run by, the nodes that make up the network. Each node contains and runs a copy

of the software that operates a blockchain’s primary protocol; and the blockchain itself is shared

across every node operating the network. Nodes are fundamental components of the blockchain,

in that they validate, record, and broadcast each transaction on the network, and they ensure that

the blockchain is functioning properly. The operation of the nodes makes it clear that blockchain

records are “made at or near the time by—or from information transmitted by—someone with

knowledge.” Fed. R. Evi. 803(6)(A). As with other types of financial transactions, the person

executing a blockchain transaction sends an instruction to effectuate the transaction. While records

of traditional financial transactions are typically maintained by financial institutions, records of

cryptocurrency transactions are recorded and maintained on the blockchain. Blockchain records

are also kept in the course of the regularly conducted activity of the nodes, and making the record

is a regular practice of their activity. Fed. R. Evid. 803(6)(B)-(C).

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       Rule 902(11) allows the certification under Rule 803(6)(D) to be completed by “the

custodian or another qualified person.” Fed. R. Evid. 902(11) (emphasis added). According to the

advisory committee notes to Rule 803(6), “[w]holly acceptable records may involve matters

merely observed;” thus, records may be admitted by a person with no first-hand knowledge of the

creation of the record. Williams, 205 F.3d 23, 34 (2d Cir. 2000) (“The custodian need not have

personal knowledge of the actual creation of the document to lay a proper foundation for the

[record].” (internal quotation marks and citation omitted)). As applied in the blockchain context,

one does not need to validate blockchain transactions or otherwise operate a blockchain node to

be qualified to provide a certification under Rule 902(11). Indeed, a qualified person could include

a law enforcement official who obtains a copy of the relevant blockchain records from the network,

is familiar with the process by which these records are created and maintained, and otherwise

meets the requirements under Rule 803(6).

       Rule 902(13) permits admission of records generated by an electronic process or system

based on a certification that complies with Rule 902(11). And because the Government can certify,

by virtue of the process involved in validating and recording blockchain transactions, that the

blockchain is “[a] record generated by an electronic process or system that produces an accurate

result,” the Government can establish a basis to authenticate blockchain records under Rule

902(13). The Government has produced to the defense extensive transactional records from the

blockchain, including records for thousands of transactions involving the Tornado Cash service.

In the event that the parties do not reach a stipulation, these records are admissible through a

certification from a qualified witness, in this case most likely a law enforcement official with

extensive training and experience in how transactions are recorded on the blockchain and who has

confirmed that the transactions records are taken from a reliable custodian of the blockchain.

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IV.      Witness Testimony and Corroborating Evidence Authenticate the Contents of a
         Cellphone Seized from Alexey Pertsev

         A. Background

         In August 2022, Dutch law enforcement arrested Storm’s co-conspirator and Tornado Cash

co-founder Alexey Pertsev in the Netherlands and created an extraction, or digital copy, of

Pertsev’s cellphone (the “Pertsev Phone Extraction”) using the forensic tool, GrayKey. The

Pertsev Phone Extraction contained communications over the encrypted communication

application, Telegram, 7 in which Storm participated (the “Pertsev Telegram Chats”). Those

communications should be admitted into evidence for the reasons set forth below.

      B. The Pertsev Telegram Chats Are Authenticated by Witness Testimony and
         Corroborating Information from Other Sources

                1. Applicable Law

         “[T]he requirement of authenticati[on] . . . [is satisfied by] evidence sufficient to support a

finding that the matter in question is what its proponent claims.” Fed. R. Evid. 901(a). The bar for

authentication “is not particularly high.” United States v. Bout, 651 F. App’x 62, 63 (2d Cir. 2016).

Indeed, evidence is properly authenticated as long as a reasonable juror could find in favor of

authenticity. See United States v. Tin Yat Chin, 371 F.3d 31, 38 (2d Cir. 2004). The proponent

need not “rule out all possibilities inconsistent with authenticity, or to prove beyond any doubt that

the evidence is what it purports to be. Rather, the standard for authentication, and hence for

admissibility, is one of reasonable likelihood.” United States v. Pluta, 176 F.3d 43, 49 (2d Cir.

1999).



7
 The Telegram application allows users to communicate with each other in encrypted “chats,”
which are conversations involving two or more interlocutors. Chat participants can send text
messages, audio messages, and attachments.

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       As described in Rule 901, a proponent may authenticate evidence in multiple ways,

including, for example, “[t]estimony that an item is what it is claimed to be”; “[t]he appearance,

contents, substance, internal patterns, or other distinctive characteristics of the item, taken together

with all the circumstances”; and “[e]vidence describing a process or system and showing that it

produces an accurate result.” Fed. R. Evid. 901(b)(1), (4), (9). In other words, evidence of

authenticity “may be direct or circumstantial, and the latter category may include distinctive

characteristics of the document itself.” United States v. Maldonado-Rivera, 922 F.2d 934, 957 (2d

Cir. 1990). “With respect to a document attributed to the defendant, the prosecution need only

provide a rational basis from which the jury could infer the document did, in fact, belong to him.”

Id.

              2. Discussion

       The Government intends to authenticate the Pertsev Telegram Chats by, among other

things, calling to the stand Special Agent Peter Dickerman of the Internal Revenue Service, who

traveled to the Netherlands in November 2024 to obtain portions of the Pertsev Phone Extraction

relevant to this case, including the Pertsev Telegram Chats. Special Agent Dickerman will testify

as follows:

       1) Special Agent Dickerman has more than twelve years of experience conducting,
          copying, and analyzing cellphone extractions and has worked extensively with
          GrayKey since approximately 2018;

       2) GrayKey is a mobile forensic access tool developed by Grayshift and used by law
          enforcement to unlock and extract data from iOS and Android devices;

       3) When a cellphone extraction is created using GrayKey, a report is automatically
          generated that reflects certain identifying information of the cellphone. This
          information includes, among other things, the date of the extraction, the device’s
          “Device Name,” “Owner Name,” and “Accounts.”

       4) The Device Name and Owner Name on an iPhone’s GrayKey report typically reflect
          the corresponding subscriber information of the device owner’s Apple iCloud account;
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       5) The Accounts on an iPhone’s GrayKey report are typically email addresses used to log
          into various online services on the device;

       6) When Special Agent Dickerman traveled to the Netherlands in November 2024, he
          reviewed and obtained a copy of the GrayKey report that was generated when the
          Pertsev Phone Extraction was created;

       7) The report reflects that it is derived from an extraction of a mobile device that was
          conducted in August 2022, that the device had the Device Name “Pertsev iPhone,” the
          Owner Name “Alexey Pertsev,” and the Accounts “peppersec@yandex.ru,”
          “pertsev.one@icloud.com,” “peretsmobil@gmail.com,” “pertsev.one@gmail.com,”
          and “alexey@tornado.cash;”

       8) While in the Netherlands in November 2024, Special Agent Dickerman obtained a copy
          of a subset of the Pertsev Phone Extraction relevant to this case, from which the Pertsev
          Telegram Chats were obtained;

       9) In the Pertsev Telegram Chats, Pertsev’s display name appears as “Alexey Pertsev,”
          and the chats include chats with a another Telegram user whose name appears as
          “Roman Storm”; and

       10) Special Agent Dickerman saw photographs of Pertsev in the Pertsev Phone Extraction.

       Separately, the Government intends to introduce records obtained from sources other than

the Pertsev Phone Extraction whose contents match both the information contained in the above-

referenced GrayKey report and records that Special Agent Dickerman obtained from the Pertsev

Phone Extraction. For example, records obtained from Google identify the subscriber for the

accounts “pertsev.one@gmail.com” and “alexey@tornado.cash” as “Alexey Pertsev.” In addition,

an   email   from    Google     to   “pertsev.one@gmail.com”       requests    confirmation    that

“peretsmobil@gmail.com”       should     be    the    recovery     email      address   for    the

“pertsev.one@gmail.com” account. Additionally, Telegram chats obtained from sources other

than the Pertsev Phone Extraction match the Pertsev Telegram Chats. For instance, Pertsev

communicated over Telegram with principals at Venture Capital Fund-1, which provided the

Government with its own copies of certain of the Pertsev Telegram Chats, which, as noted above,

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can be authenticated as business records of Venture Capital Fund-1. Similarly, the Pertsev Phone

Extraction contains Telegram messages that an attorney for a cryptocurrency exchange that was

the victim of a hacking incident sent to Pertsev, Storm, and Semenov, and the attorney who sent

those messages will testify as to their authenticity.

       In sum, the abundant information in the Pertsev Phone Extraction GrayKey report that

identifies the provenance of the extraction as Pertsev’s phone, the presence on that extraction of

photos of Pertsev, and the copies of Pertsev Telegram Chats obtained from other sources that match

the chats on the Pertsev Phone Extraction establish a more than sufficient basis to authenticate that

the Pertsev Telegram Chats were indeed obtained from Alexey Pertsev’s phone. Accordingly,

the Court should admit them into evidence.

       C. Special Agent Dickerman’s Testimony and Accompanying Exhibits Comport
          with the Confrontation Clause

               1. Applicable Law

       The Sixth Amendment’s Confrontation Clause generally “forbids the introduction of out-

of-court testimonial statements unless the witness is unavailable and the defendant has had the

chance to cross-examine the witness previously.” Samia v. United States, 143 S. Ct. 2004, 2012

(2023). Although the Supreme Court has held that a report containing an absent witness’s

specialized opinion is “testimonial,” see Bullcoming v. New Mexico, 564 U.S. 647, 658 (2011),

courts in this District and elsewhere have drawn a distinction between such reports and mere

printouts of electronic data—holding that the latter are non-testimonial and do not require the

opportunity for cross-examination under the Confrontation Clause and routinely admitting

cellphone extraction evidence without the testimony of the person who originally operated the

extraction software. See, e.g., United States v. Jean-Claude, No. S1 18 Cr. 601 (PGG), 2022 WL

2334509, at *21-24 (S.D.N.Y. June 27, 2022); United States v. Gayle, No. 16 Cr. 361 (CS), Trial
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Tr. 1084-85 (S.D.N.Y. Sept. 14, 2017); see also United States v. Hill, 63 F.4th 335, 359 (5th Cir.

2023) (cellphone extraction reports are “non-testimonial, raw machine created data,” and may be

admitted without the testimony of the person who performed the cellphone extraction); United

States v. Arce, 49 F.4th 382, 392 (4th Cir. 2022) (cellphone extraction report containing

“downloaded information” such as “texts, browser history, and videos and images” is not

testimonial and does “not typically implicate the Confrontation Clause”).

           2. Discussion

       The Pertsev Phone Extraction and associated GrayKey report are mere “non-testimonial,

raw machine created data,” Hill, 63 F.4th 335, 359, and are therefore nothing like the written expert

opinion whose admission violated the Confrontation Clause in Bullcoming. There, the Supreme

Court concluded that a report containing an absent expert witness’s specialized opinion (in that

case, a chemist’s conclusion regarding intoxication testing results) is “testimonial” and cannot be

introduced in the absence of cross-examination of the expert who reached the conclusions and

rendered the opinions at issue. Bullcoming, 564 U.S. at 658. The expert report in Bullcoming

included certifications by the absent expert witness that the expert had received the relevant blood

sample intact, had checked that the sample corresponded to the correct report number, and had

performed a particular test following a specified protocol. Bullcoming, 564 U.S. at 660 (citing

Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009)). The report at issue also included a portion

where the analyst who conducted the testing could identify any “circumstance or condition” that

“affected the integrity of the sample or the validity of the analysis.” Id. The Supreme Court

concluded that those representations as to the presence or absence of such circumstances conveyed

“past events and human actions not revealed in raw, machine-produced data” and are therefore



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core testimonial statements of the absent expert witness that should be subject to cross-

examination. Id.

       In stark contrast to the Bullcoming blood alcohol content expert report, the Perstev Phone

Extraction and associated GrayKey report are not written expert opinions at all and contain no

express certifications, representations, or statements of any kind by an absent witness; they are

merely the contents of Pertsev’s cellphone and a machine-generated report of those contents,

respectively. They contain no written results of an absent witness’s expert evaluation or opinion

of other evidence or a certification of testing that the absent witness had conducted and they are

otherwise a far cry from the “core class of testimonial statements,” such as affidavits, prior ex parte

testimony, and the like. Melendez-Diaz, 557 U.S. 305 at 309-10 (citing Crawford v. Washington,

541 U.S. 36, 51-52 (2004)). It is of no moment that the person who transferred the data from the

cellphone itself into document format (a member of Dutch law enforcement) will not testify; unlike

in Bullcoming, no testimonial statements of that person will be offered at trial. Indeed, neither the

Pertsev Phone Extraction nor the associated GrayKey report contains “statements” of that person

at all; they are merely a copy and a printout, respectively, of electronic data. See, e.g., Jean-Claude,

2022 WL 2334509, at *21-24; United States v. Gayle, Trial Tr. 1084-85; see also Hill, 63 F.4th at

359 (“Key differences exist between test reports generated by a person’s analysis and test reports

which are the result of machine analysis. . . . Here, the raw cellphone extraction reports contained

only machine-generated results, and were thus non-testimonial.”). Because the extraction is not

testimonial, there is no Confrontation Clause violation in admission of the Pertsev Phone

Extraction or the GrayKey report.

       Nor will Special Agent Dickerman’s testimony violate the Confrontation Clause. That

testimony will be based on Special Agent Dickerman’s own experience and direct observations of

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the characteristics of the Pertsev Phone Extraction, see United States v. Rigas, 490 F.3d 208, 224

(2d Cir. 2007), and will serve only to explain the nature of a cellphone extraction, which will

provide the jury with a reasonable basis to conclude that the Pertsev Phone Extraction is a true and

accurate copy of the contents of Pertsev’s cellphone for authentication purposes under Rule 901.

By contrast, Special Agent Dickerman will not testify, for example, as to the circumstances under

which Pertsev’s cellphone was seized from Pertsev because he was not there. Accordingly, because

Special Agent Dickerman’s testimony will not relay testimonial statements of an absent witness,

the Confrontation Clause requires only that Special Agent Dickerman himself be available for

cross-examination, which he will be.

V.     Certain Evidence is Admissible as Direct Evidence and Pursuant to Rule 404(b)

       The Government seeks to admit at trial evidence of certain conduct of the defendant both

as direct evidence of the charged crimes or, in the alternative, as evidence of other acts under Rule

404(b). Specifically, the Government seeks to admit: (1) evidence that the defendant personally

profited from the operation of the Tornado Cash service; (2) evidence that the defendant made

false statements to a financial institution in connection with a bank account used to operate the

Tornado Cash service; and (3) evidence that the defendant took steps to keep the Tornado Cash

service operating after OFAC imposed sanctions on Tornado Cash on August 8, 2022, including

by transferring ownership of certain features of the Tornado Cash service to a smart contract.

       A. Applicable Law

               1. Other Acts Evidence as Intrinsic or Direct Proof

       If evidence is relevant to a charged offense, it is generally admissible at trial. Fed. R.

Evid. 402. Evidence is relevant if “(a) it has any tendency to make a fact more or less probable



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than it would be without the evidence; and (b) the fact is of consequence in determining the action.”

Fed. R. Evid. 401.

       If evidence is admissible as direct evidence, it is not “subject to consideration under

Rule 404(b) at all . . . .” United States v. Halak, 78 F. App’x 758, 760 (2d Cir. 2003). Uncharged

acts are admissible where they are used to, among other things, (i) provide background for the

events alleged in the charging instrument, (ii) explain the mutual trust that existed between crime

participants; and/or (iii) complete the story of the crime charged. See United States v. Mercado,

573 F.3d 138, 141-42 (2d Cir. 2009). In other words, evidence of uncharged criminal activity is

admissible “if it arose out of the same transaction or series of transactions as the charged offense,

if it is inextricably intertwined with the evidence regarding the charged offense, or if it is necessary

to complete the story of the crime on trial.” United States v. Hsu, 669 F.3d 112, 118 (2d Cir. 2012)

(citation and internal quotation marks omitted); see also United States v. Quinones, 511 F.3d 289,

309 (2d Cir. 2007).

       Even if the evidence does not directly establish an element of the offense charged, it can

be admitted “in order to provide background for the events alleged in the indictment.” United

States v. Coonan, 938 F.2d 1553, 1561 (2d Cir. 1991) (citation omitted). “In particular, evidence

of other bad acts may be admitted to provide the jury with the complete story of the crimes charged

by demonstrating the context of certain events relevant to the charged offense.” United States v.

Inserra, 34 F.3d 83, 89 (2d Cir. 1994) (citations omitted); see also United States v. Gonzalez, 110

F.3d 936, 941 (2d Cir. 1997) (“To be relevant, evidence need only tend to prove the government’s

case, and evidence that adds context and dimension to the government’s proof of the charges can

have that tendency. Relevant evidence is not confined to that which directly establishes an element

of the crime.”).

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           2. Other Acts Evidence Pursuant to Rule 404(b)

       The Federal Rules of Evidence provide, in relevant part, that: “Evidence of any other crime,

wrong, or act is not admissible to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character. This evidence may be admissible for

another purpose, such as proving motive, opportunity, intent, preparation, plan, knowledge,

identity, absence of mistake, or lack of accident.” Fed. R. Evid. 404(b). Evidence of uncharged

crimes, wrongs, or other acts is admissible under Rule 404(b) as long as the evidence: (1) is

advanced for a proper purpose; (2) is relevant to the crimes for which the defendant is on trial;

(3) has probative value that is not substantially outweighed by any unfair prejudicial effect; and

(4) if requested, is admitted with limiting instructions to the jury. See United States v. Scott, 677

F.3d 72, 79 (2d Cir. 2012); United States v. Zackson, 12 F.3d 1178, 1182 (2d Cir. 1993); United

States v. Pitre, 960 F.2d 1112, 1118–19 (2d Cir. 1992).

       The Second Circuit “follows the ‘inclusionary’ approach, which admits all ‘other act’

evidence that does not serve the sole purpose of showing the defendant’s bad character and that is

neither overly prejudicial under Rule 403 nor irrelevant under Rule 402.” United States v. Curley,

639 F.3d 50, 56 (2d Cir. 2011) (quoting United States v. Pascarella, 84 F.3d 61, 69 (2d Cir. 1996));

see also United States v. Moran-Toala, 726 F.3d 334, 345 (2d Cir. 2013). Any “other act”

evidence that is neither “more sensational” nor “more disturbing” than the charged crimes will not

be deemed unfairly prejudicial. United States v. Roldan-Zapata, 916 F.2d 795, 804 (2d Cir.

1990); United States v. Williams, 205 F.3d 23, 33–34 (2d Cir. 2000); cf. Costantino v. Herzog, 203

F.3d 164, 174 (2d Cir. 2000) (“Because virtually all evidence is prejudicial to one party or another,

to justify exclusion under Rule 403 the prejudice must be unfair.”).



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       Finally, it is proper for a trial court to admit “other crimes, wrongs, or acts” evidence if it

helps to prove the existence of a common scheme or plan. See Fed. R. Evid. 404(b) (establishing

that “[e]vidence of any other crime, wrong, or act . . . may be admissible” to prove a “plan”);

United States v. Reed, 639 F.2d 896, 906 (2d Cir. 1981) (“[E]vidence of the [other] transactions

was . . . admissible to show a common scheme or plan.”); see also United States v. O’Connor, 580

F.2d 38, 41 (2d Cir. 1978) (“The rubric of scheme or plan has been used to cover a multitude of

particular situations, which do not fall into simple categories.”).

           3. Rule 403 and Evidence of Other Bad Acts

       Regardless of whether the evidence is admitted as direct evidence or as other acts evidence

under Rule 404(b), the evidence is, like all other evidence, admissible under Federal Rule of

Evidence 403 if its probative value is not substantially outweighed by the danger of unfair

prejudice. Rule 403 provides that relevant evidence may be excluded “if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing

the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.” Fed. R. Evid. 403. Evidence is unfairly prejudicial “only when it tends to have some

adverse effect upon a defendant beyond tending to prove the fact or issue that justified its

admission into evidence.” United States v. Figueroa, 618 F.2d 934, 943 (2d Cir. 1980). Other

crimes evidence is not unfairly prejudicial where it is not “any more sensational or disturbing than

the crimes” with which the defendant has been charged. Roldan-Zapata, 916 F.2d at 804; see

also United States v. Livoti, 196 F.3d 322, 326 (2d Cir. 1999) (noting that evidence is not unduly

prejudicial under Rule 403 when it is not “more inflammatory than the charged crime[s]”); United

States v. Thompson, 359 F.3d 470, 479 (7th Cir. 2004) (“Evidence is unfairly prejudicial if it

appeals to the jury’s sympathies, arouses its sense of horror, provokes its instinct to punish, or

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otherwise may cause a jury to base its decision on something other than the established

propositions in the case.” (citation and internal quotation marks omitted)). The fact that evidence

may be “damning” does not render it inadmissible. See United States v. Cirillo, 468 F.2d 1233,

1240 (2d Cir. 1972).

        To the extent there is any risk of unfair prejudice from otherwise probative evidence, the

Court may provide limiting instructions to remind the jury that the defendant is not on trial for any

offense other than the crime charged. See United States v. Tussa, 816 F.2d 58, 68 (2d Cir. 1987)

(limiting instruction sufficient to preclude prejudice to defendant); see generally Parker v.

Randolph, 442 U.S. 62, 75 n.7 (1979) (“The ‘rule’—indeed, the premise upon which the system

of jury trials functions under the American judicial system—is that juries can be trusted to follow

the trial court’s instructions.”).

    B. Discussion

                1. Evidence of the Defendant’s Profits from the Tornado Cash Service Is
                   Admissible

        The Government anticipates offering evidence, including financial records and expert

cryptocurrency tracing testimony from IRS-CI Special Agent Stefan George, that when the

defendant and his co-conspirators created TORN tokens in December 2021, the defendant received

a substantial share of TORN tokens as a founder of the Tornado Cash service, and also received

additional TORN tokens because he had been one of the earliest users of the Tornado Cash service.

In addition, the defendant moved funds through the Tornado Cash service, which had the effect of

commingling his funds with criminal proceeds, increasing the overall size of the Tornado Cash

pools and facilitating the use of the Tornado Cash service for money laundering by criminal actors.

The defendant used the proceeds from his TORN tokens, as well as funds he withdrew from the

Tornado Cash pools, which therefore included commingled criminal proceeds, toward his purchase
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of, among other things, two homes in the greater Seattle area. In addition, the defendant used an

account at a cryptocurrency exchange in the name of another Russian national to liquidate TORN

tokens, ultimately converting his and the other founders’ TORN tokens into other cryptocurrency

worth approximately $12 million in August 2022.

       This evidence is directly relevant to each of the charged offenses. The fact that the

defendant helped create the TORN token and received a substantial amount of them both through

the special distribution to the founders of the Tornado Cash service and through the distribution to

the early users of the Tornado Cash service is evidence of how the service functioned and

demonstrates that he did in fact exercise ownership and control of the Tornado Cash service and

that he was financially motivated to make changes to the Tornado Cash service (or not make

changes that he could have, as the case may be) during the charged time period that would increase

the value of his TORN holdings. The defendant has vigorously disputed these facts, as well as

disputing whether the Tornado Cash service can be characterized as a business for purposes of

Count Two, which charges him with operating a money transmitting business knowing that it

involves the transmission of funds that are derived from a criminal offense or intended to be used

to promote unlawful activity. This makes the evidence of his personal profits from the Tornado

Cash service especially relevant and probative to establish that the Tornado Cash service was an

“enterprise that is carried on for profit or financial gain,” which is an element of the money

transmitting offense. United States v. Banki, 685 F.3d 99, 114 (2d Cir. 2012).

       In addition, this evidence is relevant and admissible pursuant to Rule 404(b). The evidence

is highly probative of the defendant’s intent and financial motives in operating the Tornado Cash

service. Indeed, the defendant’s substantial profits from the Tornado Cash service explain why he

continued to market and operate the service, and to make only cosmetic changes to its features

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even after he became aware that its business model was little more than operating as a haven for

money laundering. See, e.g., United States v. Motovich, No. 21 Cr. 497 (WFK), 2024 WL 3303723,

at *2 (E.D.N.Y. July 2, 2024) (money laundering and unlicensed check-cashing business case in

which the court noted its agreement with the Government that evidence of the defendant’s “wealth,

spending, and lifestyle,” including expenditures on, among other things, “luxury items…[and]

renovations to [d]efendant’s penthouse apartment” was “direct evidence of his committing the

charged crimes, as well as his overarching motive for the criminal conduct”) (internal quotation

marks omitted); United States v. Hoey, No. 15 Cr. 229 (PAE), Dkt. No. 60 (Tr. of Mar. 9, 2016

Conf.) at 19-20 (court noting that defendant’s spending of proceeds of offense were “proof of [his]

motive” and tended to show that his “good faith” defense was “false”).

       Furthermore, the evidence will show that the defendant intentionally concealed his

realization of profits from the Tornado Cash service. For some of the TORN tokens, he used a

cryptocurrency exchange account in the name of another person, while for others, the

cryptocurrency tracing analysis will show that he engaged in an array of complex transactions and

transfers before moving the funds to his personal account. The contortions that the defendant

engaged in with funds that were derived from the offenses charged in this case are direct evidence

of the charged conspiracies, and are also powerful evidence of his consciousness of guilt. See

United States v. Hatfield, 685 F. Supp. 2d 320, 327 (E.D.N.Y. 2010) (evidence of defendant’s

transfer and concealment of assets overseas admissible as tending to show consciousness of guilt).

               2. Evidence of the Defendant’s False Statements to a Financial Services
                  Company Through Which the Defendant Paid for Aspects of the Tornado
                  Cash Service Is Admissible

       In or about July 2020, the defendant, along with co-defendant Roman Semenov and co-

conspirator Alexey Pertsev, opened an account at Rho for Peppersec (the “Peppersec Account”).

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Rho is a New York-based “fintech” company that offers various financial services, including

management of bank accounts and payments, for businesses. The defendant and his co-

conspirators used the Peppersec Account at Rho to receive investments for the Tornado Cash

service, including Venture Capital Fund-1’s nearly $1,000,000 investment, and they used those

invested funds to pay for various expenses relating to their operation of the Tornado Cash service,

including payroll for the team of developers the founders used to continuously develop and refine

the service. The defendant also used the Peppersec Account to pay regular bills from Infura and

Alchemy, two online service providers that facilitate blockchain requests or “calls.” Put simply,

Infura and Alchemy offer their customers (and by extension their customers’ customers) reliable,

high-volume access to the Ethereum blockchain. These service providers were a critical part of the

Tornado Cash service’s infrastructure. Without this infrastructure, the Tornado Cash service would

not have been able to offer high volumes of reliable service for its customers and would have been

a far less effective and popular money laundering tool.

       In March 2022, Rho, as part of its compliance processes, contacted the defendant and

Pertsev and asked them to fill out a “Crypto questionnaire.” In April 2022, the defendant filled out

the questionnaire after Rho followed up with him and stated that the questionnaire had to be filled

out within the next week or the Peppersec Account would be closed. The defendant’s responses to

this questionnaire contained several materially misleading statements about the nature of

Peppersec’s business, which largely consisted of operating the Tornado Cash service. For instance,

the defendant expressly denied that the company operated on a blockchain, that it offered any

products or services related to a digital wallet, that it derived any money from cryptocurrency, or

that it accepted deposits. And in response to the more open-ended question of how the company



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was “directly or indirectly related to cryptocurrency,” the defendant simply wrote “donations,

payments, expenses.”8

       Given that Peppersec’s flagship project was a cryptocurrency mixing service, these

responses were plainly false or, at a minimum, misleading under the circumstances. Indeed, the

defendant opened the Peppersec Account specifically for the purpose of operating the Tornado

Cash service, and the money in the account came almost entirely from Venture Capital Fund-1’s

investment into the Tornado Cash service. When he solicited those funds from Venture Capital

Fund-1, the defendant described the Tornado Cash service as operating on the Ethereum

blockchain, explained that it “uses a smart contract that accepts ETH deposits,” and described

plans to “monetize” the “business,” including by creating a Tornado Cash token (what became

TORN), a plan that he had implemented by the time he responded to the Rho questionnaire. Indeed,

what Venture Capital Fund-1 got in exchange for its investment in the Tornado Cash service was

TORN, a cryptocurrency token created by the defendant. Storm’s misleading statements to Rho

cannot be squared with his description of the business to his investors.

       Evidence of the defendant’s misleading statements to Rho is admissible as direct evidence

of the charged offenses. The Peppersec Account was of critical importance to the Tornado Cash

service’s operations, as it was where investor funds were maintained and used to pay for critical

business expenses. Accordingly, the defendant’s false statements made in an effort to keep the

account open are acts directly in furtherance of the charged conspiracies. For the same reason,




8
  The defendant also made certain admissions to Rho that the Government may seek to introduce
at trial, including acknowledging that the company did not have any anti-money laundering
policies.

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these statements are inextricably intertwined with the charged crimes, as they represent bad

conduct perpetrated by the defendant in furtherance of those crimes.

       This evidence is also admissible pursuant to Rule 404(b). The defendant’s statements to

Rho evidence, at a minimum, the defendant’s preparation and planning to keep the Tornado Cash

service running, his intent to conceal the true nature of the Tornado Cash service, and his

consciousness of guilt. See, e.g., United States v. Atilla, 966 F.3d 118, 129 (2d Cir. 2020) (“The

jury could reasonably infer, based on the fact that Atilla lied to and concealed information from

U.S. officials charged with sanctions enforcement [at the United States Treasury Department], that

he was aware that the scheme involved international payments through U.S. banks that were

violations of U.S. sanctions.”); United States v. Mizrahi, No. 22 Cr. 650 (JPO), 2024 WL 3824104,

at *2 (S.D.N.Y. Aug. 15, 2024) (finding that the defendant’s lies to a financial institution about

certain wire transfers supported jury verdict on money laundering and unlicensed money

transmission charges, as they evidenced the defendant’s knowledge that “the piles of cash he was

laundering were proceeds of unlawful activity”).

               3. Evidence of the Defendant’s Efforts to Keep the Tornado Cash Service
                  Operating After the Imposition of OFAC Sanctions Is Admissible

       On August 8, 2022, OFAC announced sanctions on Tornado Cash, and many of its U.S.-

based service providers stopped providing services to it. In the aftermath of the announcement of

OFAC sanctions, the defendant and the other Tornado Cash founders took a number of steps to

keep the business operating. Most notably, the primary way for customers to find and access the

Tornado Cash UI was through the tornadocash.eth domain that the founders owned and controlled.

Without the domain, finding the existing version of the UI would have been difficult, and there

would have been no centralized way to release new upgraded versions over time. Rather than take

down the domain, however, the founders instead transferred control of that domain on August 8,
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2022 to the decentralized Tornado Cash Governance smart contract, which was controlled by

anonymous holders of TORN tokens like the defendant. That critical decision was essential to

preserving the operation and accessibility of the Tornado Cash service for customers, despite the

OFAC sanctions. Not only did it preserve access to the UI, which was how approximately 99% of

all Tornado Cash transactions were executed, but it also gave TORN token holders the ability to

continue to upgrade and refine the UI over time. The defendant also exchanged messages with his

co-founders in which they expressed concern that service providers for the Tornado Cash service

were cancelling those services due to the sanctions, and discussed how to keep the service

operational despite those cancellations.

       The evidence of the defendant’s efforts to preserve and transfer ownership of the

tornadocash.eth domain is plainly direct evidence of the charged conspiracies. This transfer of

ownership on August 8, 2022 moved control of the domain where the UI was accessed from the

three Tornado Cash founders to the collective and anonymous group of holders of TORN token

holders, frustrating the ability of regulators or law enforcement to seize or shut down the domain

and thereby limit access to the UI. In other words, it was an act intended to keep the Tornado Cash

service operating and widely accessible to customers, thereby furthering the ongoing money

laundering, unlicensed money transmitting, and sanctions violations that are charged in the

Indictment. These acts are also evidence of the defendant’s state of mind and refute any good-faith

defense he may try to assert. Although the defendant has claimed that he acted in good faith and

made efforts to comply with applicable laws and sanctions, his brazen attempts to facilitate

widespread use of the Tornado Cash service in the face of OFAC’s imposition of sanctions on the

service directly contradicts those claims.



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       As for the defendant’s further efforts to prevent service providers from cutting off the

Tornado Cash service, even if those acts took place after the charged time period and after the

defendant and his two co-founders were no longer exercising almost exclusive authority in

operating the service, they are still evidence of his financial interest in the continued operation of

the service, which is direct evidence of the charged offenses.

       This evidence is also admissible pursuant to Rule 404(b). In affirmatively continuing to

ensure the continued operation of the Tornado Cash service after it was sanctioned, the defendant

demonstrated his intent to continue to profit from the service.

VI.    The Defendant’s Paltry Advice-of-Counsel Disclosures Violate the Court’s March 3,
       2025 Order and Any Advice-of-Counsel Defense or Reference to the Presence of
       Counsel Should Be Precluded Without Further Disclosures

               1. Background

       On September 18, 2024, when the trial in this matter was still scheduled for December

2024, the Government filed a motion requesting that the Court order the defendant to provide

notice of his intent to assert an advice-of-counsel defense. (Dkt. 79 at 9-10). On October 10, 2024,

the Court ordered the defense to provide the Government with notice of any advice-of-counsel

defense by October 28, 2024. (Dkt. 88 at 17-19). That deadline was later adjourned to February

18, 2025, when trial was adjourned to April 2025. (Dkt. 126).

       On February 18, 2025, the defense provided the Government with a two-sentence advice-

of-counsel disclosure that stated, in sum total, the following: “We write to provide you notice that

at his trial Roman Storm may assert an advice of counsel defense and/or a good faith defense based

in part on communications with and information received from attorneys. As is permitted by the

case law, Mr. Storm will not make a final decision about whether to assert such defenses until after

the government rests its case in chief.” (Dkt. 128-3). After failed attempts to resolve the inadequacy

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of this disclosure with the defense, the Government moved this Court on February 25, 2025 for

more robust disclosures. (Dkt. 128). On March 3, 2025, the Court issued the following order:

       [T]he Court will require the defense to produce privileged documents twenty-four
       hours in advance of unequivocally asserting an advice-of-counsel defense through
       opening statements. Otherwise, the Court will not require the defense to produce
       such privileged documents until the earlier of (i) its unequivocal assertion of an
       advice-of-counsel defense through cross-examination during the Government's
       case or (ii) the close of the Government’s case-in-chief. Taking a page from the
       defense’s book, the Court uses “advice-of-counsel defense” in this context to
       encompass “an advice of counsel defense and/or a good faith defense based in part
       on communications with and information received from attorneys.” (Dkt. #128-3).
       In addition, the Court hereby ORDERS the defense promptly to disclose (without
       waiving privilege) (i) the names of the lawyers from whom Mr. Storm received the
       legal advice at issue; (ii) the subject matter of that advice; and (iii) the timeframe
       in which Mr. Storm received the advice; and to direct the Government to certain
       non-privileged documents and/or communications that the Government produced
       in discovery that reference the discussions with counsel at issue and sufficiently
       preview the defense.

(Dkt. 138).

       In a March 7, 2025 letter to the Government, attached hereto as Exhibit A, the defendant

stated that he “may assert an advice-of-counsel and/or good faith defense, based on his reliance on

advice from his/Peppersec’s attorneys as well as his knowledge of the advice and involvement of

other counsel at various stages during the charged timeframe.” The letter lists three attorneys who

furnished legal advice and a number of “legal topics” to which that legal advice apparently

pertained. Notably, the letter does not identify which attorneys provided advice on which topics,

to whom the advice was given (e.g., Peppersec vs. the defendant in his individual capacity, or a

third party), and the specific timeframes in which the advice was provided.

       On March 10, 2025, the Government raised this and other concerns with the defense in a

letter that is attached hereto as Exhibit B. Specifically, the Government asserted that these

additional disclosures, though an improvement on the inadequate February disclosures, still fell


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short of the specificity required by the Court’s March 3, 2025 Order. (Dkt. 138). On April 4, 2025,

the defense responded to the Government’s letter, stating, among other things, that the defense

does not agree with the Government’s reading of the March 3, 2025 order and would provide no

further specificity as to the contours of any potential advice-of-counsel defense. That letter is

attached hereto as Exhibit C.

               2. Applicable Law

       The advice-of-counsel defense is a specific form of the defense of good faith, and to

establish a colorable defense based on the advice of counsel, the defendant must be able to identify

evidence that, before acting, he in good faith sought the advice of counsel, conveyed all material

facts accurately to the attorney, and acted strictly in accordance with the attorney’s advice. See

United States v. Scully, 877 F.3d 464, 478 (2d Cir. 2017). Where such a showing has not been

made, a defendant may not introduce evidence of attorneys’ other involvement in the events at

issue—for example, “that lawyers attended meetings or set up meetings”—to “suggest that counsel

blessed the relevant [materials or actions].” S.E.C. v. Tourre, 950 F. Supp. 2d 666, 684 (S.D.N.Y.

2013). Such evidence “would be confusing and unduly prejudicial” because a “jury could easily

believe that the fact that a lawyer is present at a meeting means that he or she must have implicitly

or explicitly ‘blessed’ the legality of all aspects of a transaction.” Id. “Such a misunderstanding

would unfairly prejudice the government because it would ‘give the defendant all of the essential

benefits of an advice of counsel defense without having to bear the burden of proving any of the

elements of the defense.’” United States v. Bankman-Fried, No. S5 22-CR-0673 (LAK), 2024 WL

477043, at *3 (S.D.N.Y. Feb. 7, 2024) (quoting Tourre, 950 F. Supp. 2d at 684).

       Accordingly, even those courts that have permitted such evidence have required detailed

pretrial disclosures and, consistent with Rules 401 and 403, carefully policed references to counsel

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or other professionals in testimony and argument to ensure that the defendant does not unfairly

attempt to mount a “disguised reliance argument.” SEC v. Stoker, No. 11 Civ. 7388 (JSR)

(S.D.N.Y. July 23, 2012), Trial Tr. at 973; see also Bankman-Fried, 2024 WL 477043, at *2

(permitting certain lines of evidence and argument and precluding others after hearing testimony

outside the presence of the jury); United States v. Tagliaferri, No. 13 Cr. 115 (RA) (S.D.N.Y.

2014), Trial Tr., Dkt. No. 63 at 83-85 (limiting defendant’s testimony regarding the presence of

counsel to avoid the “misleading impression” that the defendant relied upon the advice of counsel).

               3. Discussion

       In this case, Storm has disclosed to the Government: (i) ten broad “legal topics” about

which he “may” assert an “advice-of-counsel and/or good faith” defense; (ii) the names of three

lawyers who represented Peppersec during the charged time period; (iii) months- or years-long

timeframes during which those lawyers provided unspecified advice; and (iv) a list of potentially

relevant non-privileged documents relating to the advice-of-counsel defense. See Exhibit A. That

information is insufficient to assess whether Storm can satisfy any element of the advice-of-

counsel defense—let alone all of them. Indeed, Storm has provided no information establishing

that he (1) “made a complete disclosure to counsel concerning the matter at issue,” (2) “sought

advice as to the legality of his conduct” before engaging in that conduct, (3) “received advice that

his conduct was legal,” or (4) “relied on that advice in good faith.” Bankman-Fried, 2024 WL

477043, at *2 (internal modifications and citation omitted). Nor has he provided enough

information for the Court to assess whether any reference to the involvement of counsel that he

might be contemplating would be more probative than prejudicial. Accordingly, and consistently

with its prior orders in this case, the Court should “order[] the defendant to provide prior notice to

the Court and government before offering any evidence relating to the involvement of attorneys,”

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as Judge Kaplan did in Bankman-Fried. Id. at *1. Only then, with sufficiently detailed notice, can

the Court properly assess whether there exists a viable advice-of-counsel defense and, if not,

whether Storm’s contemplated references to attorney involvement are more probative than

prejudicial.

       Careful policing of the defendant’s potential advice-of-counsel defense is especially

warranted here in light of the Government’s decision not to proceed on its Section 1960(b)(1)(B)

(federal registration) theory of Count Two of the Superseding Indictment. Several of the “legal

topics” listed in the defendant’s March 7, 2025 letter appear to pertain exclusively to this

withdrawn part of the case, including:

              Whether Tornado Cash qualified under the software provider exemption set forth
               in the 2019 FinCEN Guidance, and thus would not be deemed a “money services
               business”;

              “Money Service Business and Money Transmitter Regulatory Analysis” issues
               addressed in an August 24, 2020 legal memorandum drafted by an attorney in
               connection with the prospective venture capital investment in Tornado Cash;

              Decentralization of the Tornado Cash user interface and website, based in part on
               the 2019 FinCEN Guidance; and

              Governance issues with respect to the TORN DAO, including Mr. Storm’s role in
               proposals, community forums, and other governance-related issues.

       The second item on this list—the August 24, 2020 attorney memorandum (the “Attorney

Memo”)—is of particular concern. The Government has a copy of this memorandum because it is

not privileged, and it is attached hereto as Exhibit D. It was commissioned by Venture Capital

Fund-1 ahead of its investment in the Tornado Cash service and shared with the defendant and his

co-founders.

       By its own terms, the Attorney Memo addresses topics that are no longer relevant to the

issues at trial, namely “the potential applicability of federal money service business regulations
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and state money transmission laws” to Peppersec as the provider of the Tornado Cash service. (Ex.

D at 1). The memo further states that is is “limited to an analysis under the federal Bank Secrecy

Act (‘BSA’) and the regulations promulgated thereunder (the ‘BSA Regulations’) in addition to

an overview of potentially applicable state money transmission laws.” (Id. (emphasis added)).

Almost the entirety of the Attorney Memo is devoted to a discussion of these regulatory issues.

The memo does contain a short section on money laundering, but that section expressly

acknowledges that “PepperSec May Still be Subject to Money Laundering Liability Risk,” and

that “irrespective of PepperSec’s status as a money transmitter, criminal penalties for money

laundering and related crimes may obtain.” (Id. at 17). The memo is entirely silent as to potential

sanctions risk.

       Not only is the Attorney Memo expressly directed to legal and regulatory issues that are

no longer at issue for this trial, but it was drafted in August 2020, prior to any of the charged

conduct in this case. It does not address subsequent developments such as the defendant’s receipt

of notice from multiple victims and law enforcement officers that he was laundering criminal

proceeds through the Tornado Cash service, or the defendant’s introduction of the TORN tokens

and the Relayer Algorithm, which combined became the economic engine of the Tornado Cash

service and the source of the defendant’s millions of dollars in profits from operating the service.

The defendant has never identified any purported legal advice he received in connection with those

later developments, which are the actual focus of this trial. Thus, if the defendant were permitted

to introduce the Attorney Memo, it would serve only to confuse and mislead the jury, and it should

be precluded.

       Accordingly, the Court should order more detailed disclosures about the contours of the

defendant’s advice-of-counsel defense, so that the Government and the Court can properly assess

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whether there exists a viable advice-of-counsel defense or something more akin to a mere-

presence-of-lawyers defense that courts in this District have consistently prohibited.

VII.    The Court Should Preclude the Defendant from Introducing Evidence and
        Arguments That Are Irrelevant and Unfairly Prejudicial

        Under Federal Rule of Evidence 402, “[i]rrelevant evidence is not admissible” at trial, Fed.

R. Evid. 402, and under Rule 403, a court may exclude even relevant evidence “if its probative

value is substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence,” Fed. R. Evid. 403; see also United States v. Miller, 626 F.3d 682, 689-90

(2d Cir. 2010).

        A defendant is entitled to present a defense only if it has a foundation in the evidence, see

United States v. Kwong, 69 F.3d 663, 667-68 (2d Cir. 1995), and as long as it does not fail as a

matter of law, see United States v. Bakhtiari, 913 F.2d 1053, 1057 (2d Cir. 1990). If the Court

finds a defense insufficient as a matter of law, the Court is under no duty to allow the defendant to

present the evidence, or advance the defense, to the jury. See United States v. Paul, 110 F.3d 869,

871 (2d Cir. 1997) (citing United States v. Bailey, 444 U.S. 394, 416-17 (1980)).

        A. The Court Should Preclude Evidence and Claims That Victims Were Negligent
           In Being Defrauded or Hacked

        The Court should preclude any suggestion, cross examination, or argument by the

defendant that any victims of fraud or hacking were negligent or gullible, or could have been more

diligent. It is well settled that a victim’s purported negligence is no defense to a fraud charge. By

the same token, a victim’s purported negligence is no defense to a charge that a defendant

conspired to launder that victim’s funds.

                  1. Applicable Law

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       In United States v. Thomas, 377 F.3d 232 (2d Cir. 2004), the Second Circuit held that the

negligence of a victim of a fraud in detecting that fraud cannot be used as a defense. The Thomas

court made clear that federal anti-fraud statutes prohibit schemes to defraud and that to establish a

scheme to defraud, there is no requirement that the victim act as a person of ordinary prudence

would. See id. at 241-42 n.5. The Thomas Court emphatically “refuse[d] to accept the notion that

‘the legality of a defendant’s conduct would depend on his fortuitous choice of a gullible victim.’”

Id. at 243 (citing United States v. Benson, 548 F.2d 42, 46 (2d Cir. 1977)); see also United States

v. Adelekan, 567 F. Supp. 3d 459, 470 (S.D.N.Y. 2021) (“The Court of Appeals routinely has

rejected a gullible victim defense for wire-fraud charges.”) (citing United States v. Amico, 486

F.3d 764, 780 (2d Cir. 2007), and United States v. Weaver, 860 F.3d 90, 96 (2d Cir. 2017)). That

is because “reliance is not an element of criminal fraud,” and “the unreasonableness of a fraud

victim in relying (or not) on a misrepresentation does not bear on a defendant’s criminal intent.”

Weaver, 860 F.3d at 95-96.

               2. Discussion

       The Government expects that several victims will testify to being defrauded or hacked and

then seeing their funds being laundered through the Tornado Cash service, never to be recovered.

Collectively, the victims’ losses in this case are staggering. Whether these victims should have

been more vigilant or practiced better cybersecurity is irrelevant under Rule 401 and unduly

prejudicial and potentially confusing to the jury under Rule 403. In light of the well-established

prohibition against any defense that involves blaming victims, the Government respectfully

submits that this Court should direct that defense counsel not suggest—in opening statements,

cross-examination, summation, or otherwise—that the victims in this case could have, or should

have, been more diligent in avoiding being defrauded or hacked.

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       B. The Court Should Preclude Evidence Regarding Purportedly Lawful Uses of the
          Tornado Cash Service

       The defendant may seek to offer evidence that some customers of the Tornado Cash service

used the service for purportedly lawful or sympathetic purposes. This Court should preclude such

evidence. Such irrelevant “good acts” evidence that a defendant did not engage in a money

laundering, unlicensed money transmission, or sanctions evasion conspiracy in all instances is not

probative of whether the defendant committed those crimes. To the extent that such evidence

would have any probative value, it should nonetheless be excluded under Federal Rule of

Evidence 403, which provides that evidence is inadmissible if the probative value of such evidence

is substantially outweighed by the danger of unfair prejudice, confusion of the issues, misleading

the jury, undue delay, and waste of time. Fed. R. Evid. 403.

               1. Applicable Law

       The Second Circuit has long recognized that “[a] defendant may not seek to establish his

innocence . . . through proof of the absence of criminal acts on specific occasions.” United States

v. Chambers, 800 F. App’x 43, 46 (2d Cir. 2020) (quoting United States v. Scarpa, 897 F.2d 63,

70 (2d Cir. 1990)). “The reasoning behind this rule is straightforward: A single occurrence of

lawful conduct is simply irrelevant to other occurrences of unlawful conduct.” Id. (citation

omitted). The Second Circuit’s decision in United States v. Walker, 191 F.2d 326, 336 (2d Cir.

1999), is instructive. In that case, the defendant was charged with making false statements in

connection with an immigration business and sought to introduce evidence that he had prepared

other, non-fraudulent asylum applications. The Second Circuit upheld the district court’s exclusion

of this “good acts” evidence, holding that “[w]hether [the defendant] had prepared other, non-

fraudulent [asylum] applications was simply irrelevant to whether the applications charged as false


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statements were fraudulent.” See also United States v. Rossy, No. 22-CR-550-02 (NSR), 2023 WL

8237055, at *2 (S.D.N.Y. Nov. 28, 2023) (defendant cannot offer as evidence to disprove the

charged offenses of witness tampering and drafting a falsified report that she did not previously

draft a falsified report or cover up an assault of an inmate, and quoting United States v. Boykoff,

68 F. App’x 15, 20–21 (2d Cir. 2003) (“[E]vidence of noncriminal conduct to negate the inference

of criminal conduct is generally irrelevant.”).)

       Circuit courts elsewhere have similarly held that evidence that a defendant did not commit

crimes on other occasions is irrelevant. See United States v. Ellisor, 522 F.3d 1255, 1270 (11th

Cir. 2008) (affirming district court’s ruling precluding the defendant from offering evidence of his

legitimate business activities in order to negate evidence of his fraudulent intent as to the charged

conduct); United States v. Winograd, 656 F.2d 279, 284 (7th Cir. 1981) (finding defendant’s

performance of some legitimate trades irrelevant to his knowledge of illegal trades).

       The so-called “ceaseless criminal conduct” exception to the above rule is not applicable

here. In United States v. Damti, 109 F. App’x 454, 455–56 (2d Cir. 2004), the Second Circuit noted

that while “evidence of past ‘good acts’ by a defendant is generally not probative,” it may be

probative if a defendant is alleged to have “‘always’ or ‘continuously’ committed ‘bad acts,’”

United States v. Scarpa, 913 F.2d 993, 1010 (2d Cir. 1990) (observing that “good acts” evidence

“would only be relevant if the indictment charged [defendants] with ceaseless criminal conduct”),

or where the evidence of “good acts” would undermine the underlying theory of a criminal

prosecution, United States v. Santos, 201 F.3d 953, 962 (7th Cir. 2000). In Damti, the defendants

were convicted on charges stemming from alleged schemes to defraud and extort money from

customers of their various moving businesses. Damti, 109 F. App’x at 455. The Second Circuit



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affirmed the District Court’s exclusion of evidence of non-fraudulent moves for allegedly satisfied

customers, explaining that:

               The Government did not allege to the jury that the defendants
               engaged in “ceaseless” criminal conduct, that “all of the defendants’
               customers were defrauded, or that the defendants’ business was
               ‘permeated with fraud.” Instead, it argued that ten specific moves
               were fraudulent and therefore were representative of a substantial
               portion of the more than four-thousand moves performed by the
               defendants during the period relevant at trial. Even if many or most
               of these moves were fraudulent, it follows that a substantial portion
               also presumably were legitimate. Evidence of “good moves,”
               therefore, would not have been probative of the key issue during
               trial.

Damti, 109 F. App’x at 456; see also United States v. Nekritin, No. 10 Cr. 491 (KAM), 2011 WL

2462744, *5 (E.D.N.Y. June 17, 2011) (noting that, where the Government did not seek to prove

that all of the defendants’ Medicare and Medicaid billings were fraudulent, evidence of

defendants’ legitimate billing practices was not relevant to whether they fraudulently billed

Medicare and Medicaid as charged); United States v. Golfo, No. 19 Civ. 95 (KAM), 2020 WL

2513445, *2 (E.D.N.Y. May 15, 2020) (reasoning that, in prosecution for submission of fraudulent

therapy session invoices to the New York State Department of Health, evidence that defendant

also provided some accurately documented and invoiced therapy sessions was irrelevant to

whether defendant sought and received payment for phantom or embellished therapy sessions).

               2. Discussion

       Here, evidence that the defendant’s business transmitted funds that were not illicit is

irrelevant to whether the defendant committed the crimes charged. The Indictment does not allege,

and the Government does not intend to argue, that the defendant, Semenov, and their conspirators

engaged in “ceaseless” criminal conduct or that “all” of the defendant’s financial transactions were

unlawful, see Damti, 109 F. Appx. at 455. Thus, as in the cases cited above, evidence of non-

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criminal activities, including financial transactions, simply would not be probative of whether the

defendant committed the charged offenses. In addition, an attempt by the defendant to “drown out”

evidence of the charged offense by introducing irrelevant instances in which he engaged in lawful

conduct would also lead to a confusion of the issues, undue delay, and waste of time, and is

independently excludable on this basis. See Fed. R. Evid. 403. Accordingly, this Court should

preclude the defendant from introducing evidence of lawful acts in order to negate the charged

conspiracies.

       Finally, even if the existence of otherwise lawful financial transactions using the Tornado

Cash service were at all relevant (which they are not), any probative value of that evidence “is

substantially outweighed” by the likelihood of jury confusion, the risk of nullification, and wasting

time at trial, as the obvious purpose of such evidence is to undermine the defendant’s intent as to

the charged conduct, which is improper. See Fed. R. Evid. 403; United States v. Al Kassar, 660

F.3d 108, 123-24 (2d Cir. 2011).

       C. The Court Should Preclude the Defendant from Making Arguments Aimed at
          Jury Nullification, Including That His Charged Conduct Was Protected by Free
          Speech and Privacy Rights

       The defendant has repeatedly argued that his charged conduct is protected by constitutional

rights to freedom of speech and privacy. See, e.g., Mot. to Dismiss, Dkt. No. 30 at 48 (arguing

that, “[n]ot only is computer code protected by the First Amendment, but privacy over financial

transactions is itself a constitutionally protected interest”). These are legal arguments, which were

properly considered (and properly rejected) in the context of Storm’s motion to dismiss but which

are not appropriate for trial. (See Denial of Mot. to Dismiss, Dkt. No. 84). Indeed, the only purpose

Storm could have in making such arguments—and eliciting testimony in support of them—before

the jury is to induce jury nullification, whereby “juries act[] as judges of the law as well as the

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evidence.” United States v. Thomas, 116 F.3d 606, 614 (2d Cir. 1997). “[T]rial courts have the

duty to forestall or prevent such conduct,” which the Second Circuit has described as a “sabotage

of justice.” Id. (internal quotation marks and citation omitted); see also In re United States, 945

F.3d 616, 627 (2d Cir. 2019) (granting the Government’s mandamus petition because the district

court “abdicated its duty by ruling that defense counsel could argue jury nullification”).

Accordingly, in an abundance of caution, the Court should preclude mention of legal arguments

about rights to freedom of speech and privacy—and other appeals to jury nullification.

       D. The Court Should Exclude Evidence And Other Argument Concerning Other
          Cryptocurrency Mixing Services That Have Laundered Stolen Funds

       Like the Tornado Cash service, there are, or have been, other cryptocurrency services,

operated by various entities, that have facilitated anonymous cryptocurrency transactions for their

customers. A number of these services have been subject to civil or criminal enforcement for,

among other things, facilitating money laundering and sanctions evasion. Such conduct includes,

but is not limited to, processing transactions in cryptocurrencies stolen in various hacking incidents

and laundering funds attributed to the Lazarus Group. Storm should be precluded from introducing

evidence, eliciting on cross-examination, or otherwise referencing or making arguments regarding

the existence, structure, function, or use of any similar service. Such evidence is irrelevant, is

unduly prejudicial, and would confuse the jury.

       Here, evidence, arguments, or cross-examination regarding the existence of other

cryptocurrency mixing services, their components, their relationship with, or contrast to the

Tornado Cash service, and their possible use by the same or similar illicit actors at issue in this

trial are simply not relevant to any of the issues that the jury must decide in connection with the

three counts of the Indictment. As courts in this District have noted in the wire fraud context, “the


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fact that certain conduct may be common or general practice in an industry was not relevant to the

jury’s consideration of the conduct of [the defendant].” United States v. Mendlowitz, No. 17 Cr.

248 (VSB), 2019 WL 6977120, at *5 (S.D.N.Y. Dec. 20, 2019); United States v. Connolly, No. 16

Cr. 370 (CM), 2019 WL 2125044, at *13 (S.D.N.Y. May 2, 2019) (“‘everyone speeds’ is not a

defense if your car happens to get picked up on the radar.”). See also United States v. Oldbear,

568 F.3d 814, 821 (10th Cir. 2009) (affirming exclusion of evidence of “sloppy or corrupt”

practices because such evidence could not “shed any light on [defendant’s] state of mind.”)

(internal quotation marks omitted).

       Accordingly, evidence regarding the structure, function, and activity of other

cryptocurrency mixers is irrelevant to whether Storm and his co-conspirators knowingly facilitated

transactions through the Tornado Cash service that were proceeds of unlawful activity or whether

they willfully facilitated transactions involving the sanctioned cryptocurrency address in violation

of the International Emergency Economic Powers Act. And evidence about the structure and

operation of other services has no bearing on whether the relevant elements of the Tornado Cash

service constitute an unlicensed money transmitting business.

       Evidence, arguments, or cross-examination about the conduct of these other

cryptocurrency mixing services is also inadmissible because any probative value such evidence

might have is substantially outweighed by the prospect of undue delay, unfair prejudice, confusion

of the issues, and misleading the jury. Evidence about other cryptocurrency mixing services is, at

best, tangential to any element or material fact at issue in the charged offenses. Introducing this

evidence at trial would force the Government to offer rebuttal evidence to contextualize the defense

evidence. This would distract and confuse the jury. Cf. Arlio v. Lively, 474 F.3d 46, 53 (2d Cir.

2007) (“Admitting evidence about previous cases ‘inevitably result[s] in trying those cases before

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the jury,’ and ‘the merits of the other cases would become inextricably intertwined with the case

at bar’”). In addition, the introduction of such evidence carries with it the possibility of defense

arguments implying selective prosecution or suggesting jury nullification. Such arguments are

improper and should not be permitted. United States v. Loera, 24 F.4th 144, 161 (2d Cir. 2022).

(“arguments concerning prosecutorial bias amount to claims of selective prosecution and

outrageous Government conduct, both of which must be decided by the trial court, not the jury”).

Thomas, 116 F.3d at 616 (“trial courts have the duty to forestall or prevent” jury nullification).

Because such risk of prejudice and confusion plainly outweighs the limited to nonexistent

probative value of the evidence, Storm should be precluded from offering it.

       E. The Court Should Exclude Evidence and Argument Concerning Hypothetical
          Other Means By Which the Lazarus Group Could Have Accessed the Tornado
          Cash Pools

       As the Court has recognized, “at trial, the Government will bear the burden to prove that

Defendant conspired with others to violate IEEPA by means of the features [of the Tornado Cash

service] over which they had control.” (Dkt. 127 at 3). The evidence at trial will meet that burden,

as the defendant knowingly and willfully participated in and facilitated transactions in sanctioned

property of the Lazarus Group through features of the Tornado Cash service that he and/or his co-

conspirators had the ability to control.

       The defendant’s expert disclosures indicate that he will attempt to introduce evidence that

the Lazarus Group could in theory have figured out other ways of making deposits or withdrawals

“directly” to or from the immutable Tornado Cash pools, without using features that he controlled.

Such evidence is irrelevant and prejudicial and would serve only to confuse the issues at trial. It is

of course true in any sanctions-violation case that the sanctioned person could in theory have used

some other means of violating sanctions. But that is not the test for criminal culpability. The

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Government need only prove that the defendant “was a knowing participant in the sanctions

evasion scheme,” United States v. Atilla, 966 F.3d 118, 128 (2d Cir. 2020), not that the scheme

could not have been accomplished without his participation. 9 Accordingly, any evidence or

argument that the Lazarus Group could have achieved a similar result even without the defendant’s

direct participation is factually irrelevant and confusing, because that hypothetical possibiltiy is

immaterial under the law.

       F. The Court Should Exclude Evidence and Argument Relating to Cryptocurrency
          Regulations or Policy, or Opinions From Witnesses on These Issues

       The defendant and his counsel have made a number of public statements that suggest he

may attempt to turn the trial into a referendum on cryptocurrency policy and regulations. For

example, in a recent Wall Street Journal article, defense counsel was quoted as saying that this

case would not have been brought now, and that it was “brought when Biden had declared war on

crypto.”10 Arguments attempting to shift the focus from whether the defendant committed the

crimes alleged in the Indictment to broader policy questions about cryptocurrency are improper

and should be precluded.

       The Second Circuit has recognized that a defendant may not argue for acquittal “on the

basis of extraneous public policy considerations.” United States v. Cheung Kin Ping, 555 F.2d

1069, 1074 (2d Cir. 1977); see id. at 1073 (affirming instruction to jury that “law enforcement


9
  For instance, a bank could not defend itself against a sanctions violations charge by introducing
evidence that the sanctioned entity could have instead used an informal money transmitting
network like a hawala to engage in the same transactions.
10
   Wall Street Journal, “A Crypto Coder’s Invention Was Used by North Korean Hackers. Did
He Commit a Crime?” Mar. 24, 2025. The Government notes that defense counsel’s comments
appear to run afoul of the Court’s Local Rule 23.1, in that they express an opinion as to the
merits of the case and therefore will presumptively interfere with a fair trial and otherwise
prejudice the due administration of justice.

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policy was not its concern,” and that the jury should “focus its attention on the real issue, namely,

whether the government had proved the facts alleged in the indictment beyond a reasonable

doubt”); see also United States v. Josephberg, 562 F.3d 478, 497 (2d Cir. 2009) (affirming district

court’s finding that it was improper for defendant to argue in summation “that the Internal Revenue

Service was ‘arrogant,’ … and that because of this, Defendant should be acquitted”). This evidence

would not only be irrelevant to the defendant’s criminal intent, it would also be confusing to the

jury to turn the trial into a referendum on the role of government in addressing cryptocurrency. See

United States v. Bankman-Fried, No. 22 Cr. 673 (LAK), 2023 WL 6283509, at *5 (S.D.N.Y. Sept.

26, 2023) (precluding argument about the “role of regulatory agencies in responding to recent

cryptocurrency market events” as having “no probative value” and “creat[ing] a substantial risk of

confusing the issues and misleading the jury”); Abu Dhabi Comm. Bank v. Morgan Stanley & Co.,

No. 08 Civ. 7508 (SAS), 2013 WL 1155420, at *7 (S.D.N.Y. Mar. 20, 2013) (precluding evidence

about general failures by credit rating agencies leading up to financial crisis and noting that court

will not “let this trial become an inquiry into the role of the Rating Agencies in the financial

crisis”). Because such evidence and argument would have no probative value, and would serve

only to create a danger of undue prejudice, confusion of the issues, and misleading the jury, it

should be precluded.

       Likewise, the defendant should be precluded from examining government or defense

witnesses about their opinions regarding the law, the government’s enforcement decisions, or the

legal theories underlying this case. Whether a witness is offering lay or expert testimony, it is a

fundamental principle that it is the Court’s job to instruct the jury on the law, and the jury’s job to

apply the facts to that law. United States v. Lumpkin, 192 F.3d 280, 290 (2d Cir. 1999). Indeed,

“[t]he rule prohibiting experts from providing their legal opinions or conclusions is ‘so well-

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established that it is often deemed a basic premise or assumption of evidence law—a kind of

axiomatic principle.’” In re Initial Pub. Offering Sec. Litig., 174 F. Supp. 2d 61, 64 (S.D.N.Y.

2001) (citations omitted). The defendant should not be permitted to invite any such legal or policy

opinions from any witness.

       In addition, any reference to FinCEN regulations or guidance about those regulations, or

any claim that there was regulatory uncertainty about how FinCEN regulations applied to a

business like the Tornado Cash service, should be precluded. While such evidence may have

potentially been relevant to the defendant’s state of mind with respect to the charge that he failed

to register the Tornado Cash service pursuant to 18 U.S.C. § 1960(b)(1)(B), the Government is not

proceeding with that theory and does not intend to introduce evidence or argument about the

defendant’s failure to comply with his regulatory obligations. Thus, permitting the defendant to

introduce evidence about the purported uncertainty of those regulations, pertaining at most to a

charge no longer in play, would essentially invite a mini-trial on that issue, which is irrelevant to

any issue for the jury to decide.

       G. The Court Should Preclude Evidence Concerning the Defendant’s Personal
          Background, Any Other Personal Factor Unconnected to Guilt, or Discussion of
          Potential Punishment or Collateral Consequences from a Potential Conviction

       The defendant should be precluded from offering evidence or argument concerning his

personal background, family relationships, or any other similar personal factors unconnected to

guilt. Such evidence is routinely excluded. See, e.g., United States v. Paccione, 949 F.2d 1183,

1201 (2d Cir. 1991) (affirming preclusion of evidence that defendant had son with cerebral palsy);

United States v. Battaglia, No. 05 Cr. 774 (KMW), 2008 WL 144826, at *3 (S.D.N.Y. Jan. 15,

2008) (precluding “evidence of Defendant’s family and personal status” as not “relevant to the

issue of whether Defendant committed the crimes charged”); United States v. Harris, 491 F.3d

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440, 447 (D.C. Cir. 2007) (affirming preclusion of evidence designed “mainly to cast [the

defendant] in the sympathetic light of a dedicated family man”). There is a risk of this in this case,

as the defendant has repeatedly brought up in public statements that his young daughter was home

when he was arrested and the house was searched pursuant to a lawfully issued warrant.11 He has

also made public comments identifying himself as an asylum seeker who fled political persecution

in Russia. See, e.g., United States v. Mejia, No. 16 Cr. 45 (RWS), 2016 WL 6662265, at *1

(S.D.N.Y. Nov. 10, 2016) (precluding evidence of defendant’s personal circumstances as

“irrelevant to the merits of this case”); United States v. Edwards, 101 F.3d 17, 20 (2d Cir. 1996)

(approving district court’s decision to prohibit any argument in support of jury nullification).

       Similarly, the defendant should be precluded, as irrelevant and prejudicial, during all

phases of the trial from offering evidence or argument concerning the punishment or collateral

consequences he faces if convicted, including potential incarceration, denaturalization and

deportation. It is well established that the jury’s function is to find the facts and to determine

whether, based on those facts, the defendant is guilty of the crimes charged. Where, as here, the

jury has no role at sentencing, or with respect to any immigration proceeding, it “should be

admonished to ‘reach its verdict without regard to what sentence might be imposed.’” Shannon v.

United States, 512 U.S. 573, 579 (1994) (quoting Rogers v. United States, 422 U.S. 35, 40 (1975)).

This is so for good reason: argument concerning punishment “invites [jurors] to ponder matters

that are not within their province, distracts them from their factfinding responsibilities, and creates

a strong possibility of confusion.” Id. Moreover, information regarding the potential consequences



11
   See, e.g., Roman Storm Speaks – Tornado Cash Developer on What’s at Stake, Bankless, at
7:27, 9:03, 22:39 (Nov. 21 2024) https://podcasts.apple.com/us/podcast/roman-storm-speaks-
tornado-cash-developer-on-whats-at-stake/id1499409058?i=1000677788161.

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of a guilty verdict is irrelevant to the jury’s task, and threatens to confuse the jury and risk

nullification. See id. There is real risk of this, as well, as the defendant frequently brings up in

public statements the maximum possible sentence he could receive.12

          By contrast, the Government should be permitted to introduce records evidencing the

defendant’s concern about being arrested and incarcerated. For example, the Government may

seek to introduce records produced by Google that indicate that, on August 20, 2022, the defendant

searched “best federal prison ratings” and “list of minimum security federal prisons.” This pre-

charge conduct is obvious evidence of the defendant’s state of mind and consciousness of guilt

and therefore should be admitted.

          Even if any such evidence concerning the defendant’s personal background, factors

unconnected to guilt, or range of punishment and collateral consequences arising from the charges

were relevant (they are not), any potential probative value would be substantially outweighed by

the unfair prejudice it would cause to the Government. See Fed. R. Evid. 403 advisory committee’s

notes (“‘Unfair prejudice’ within its context means an undue tendency to suggest decision on an

improper basis, commonly, though not necessarily, an emotional one.”); Mejia, 2016 WL

6662265, at *2. Accordingly, references or testimony about any of these sorts of sympathetic

factors should be precluded.

          H. The Court Should Preclude Evidence Concerning the Defendant’s Failed
             Attempt to Cooperate

          On November 15, 2022—after OFAC imposed sanctions on Tornado Cash but before the

defendant was charged—the defendant proffered with the Government pursuant to a proffer

agreement. The defendant’s proffer, however, was highly limited. While the defendant was willing


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     See id.

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to answer basic questions about his background and technical aspects of the Tornado Cash

protocol, he declined to answer any questions about, for example, his knowledge of the service’s

use by criminal actors or how much money he made from his operation of the service—in other

words, he refused to address core matters that the Government had to assess in determining

whether to seek charges against the defendant or others.

       As described below, permitting the defendant to put on evidence or argument concerning

his failed attempt at cooperation would be an impermissible application of the “consciousness of

innocence” doctrine, which the Second Circuit has made clear is extremely limited in scope.

               1. Applicable Law

       As noted above, evidence is relevant if “(a) it has any tendency to make a fact more or less

probable than it would be without the evidence; and (b) the fact is of consequence in determining

the action.” Fed. R. Evid. 401. Even if relevant, evidence is always subject to the strictures of Rule

403, which precludes evidence that is, among other things, unfairly prejudicial and/or liable to

confuse or mislead the jury.

       In United States v. Biaggi, 909 F.2d 662, 690-93 (2d Cir. 1990), the Second Circuit held

that the district court erroneously excluded evidence of defendant John Mariotta’s rejection of an

immunity offer made by the Government. In so holding, the Second Circuit noted the following:

       When a defendant rejects an offer of immunity on the ground that he is unaware of
       any wrongdoing about which he could testify, his action is probative of a state of
       mind devoid of guilty knowledge. Though there may be reasons for rejecting the
       offer that are consistent with guilty knowledge, such as fear of reprisal from those
       who would be inculpated, a jury is entitled to believe that most people would jump
       at the chance to obtain an assurance of immunity from prosecution and to infer from
       rejection of the offer that the accused lacks knowledge of wrongdoing….

       Rejection of an offer to plead guilty to reduced charges could also evidence an
       innocent state of mind, but the inference is not nearly so strong as rejection of an
       opportunity to preclude all exposure to a conviction and its consequences. A plea

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       rejection might simply mean that the defendant prefers to take his chances on an
       acquittal by the jury, rather than accept the certainty of punishment after a guilty
       plea.

Id. at 690-91. The Second Circuit later held that exclusion of a defendant’s rejection of a plea offer,

United States v. Goffer, 531 F. App’x 8, 21–22 (2d Cir. 2013), and a deferred prosecution

agreement, United States v. Wilson, 201 F.3d 433 (2d Cir. 1999), did not fall within the limited

ambit of the Biaggi consciousness of innocence doctrine and was thus not erroneous. see also

United States v. Connolly, No. 16 Cr. 370 (CM), 2018 WL 2411216, at *12 (S.D.N.Y. May 15,

2018) (12-13) (holding that a defendant’s consent to extradition did not fall within the Biaggi

doctrine, as it did not amount to the same “get-out-of-jail-free card” presented in Biaggi).

               2. Discussion

       Here, any evidence or argument as to the defendant’s failed attempt to cooperate with the

Government is irrelevant, as it bears on no element of any of the crimes charged. Even if such

evidence or argument were relevant (which it plainly is not), it falls far outside the heartland of the

Biaggi consciousness of innocence doctrine. Here, the defendant accepted the Government’s

proffer agreement—which conferred so-called “use immunity” on the defendant’s statements—

and then strategically chose to discuss certain topics but not others. In particular, the defendant

refused to answer any questions about certain potentially incriminating topics, despite the

protections of the proffer agreements. In other words, the defendant’s tacit rejection of the

immunity he was granted does not indicate innocence, it betrays guilt.

       Nor can the defendant’s potential consciousness of innocence evidence survive Rule 403

scrutiny. Telling the jury that the defendant attempted to cooperate—even if the jury is provided

with the appropriate context that this attempt was half-hearted at best, which it should be if this

evidence is admitted—would only confuse and mislead the jury. See Connolly, 2018 WL 2411216,

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at *13 (“[I]f the court were to allow Black to argue ‘consciousness of innocence’ based on his

decision to waive extradition, the court would necessarily have to permit the Government to

present evidence and argue that the defendant’s decision had nothing to do with ‘consciousness of

innocence,’ but rather was motivated by other non-exculpatory factors, such as, avoiding the cost

of a futile extradition fight, and the possibility of being detained either in the United Kingdom or

the United States pending trial.”).

       It would be unduly prejudicial to the Government because it would be an obvious bid to

win the jury’s sympathy and distract it from the merits. In other words, such evidence or argument

invites jury nullification and should thus be precluded.

       I. The Court Should Preclude Evidence Concerning the Fifth Circuit’s Van Loon
          Decision or Any Evidence or Argument Regarding the Legality of OFAC’s
          Sanctions on the Tornado Cash Service

       As the Court is well aware from the defendant’s abortive attempt to convince the Court to

reconsider its denial of his motion to dismiss (Dkt. 112, 127), the Fifth Circuit invalidated OFAC’s

sanctions on the Tornado Cash pools in Van Loon v. Dep’t of the Treasury, 122 F.4th 549 (5th Cir.

2024). To the extent that the defendant attempts to make arguments based on Van Loon, or more

generally attempts to introduce argument or evidence about the validity of the sanctions on

Tornado Cash, such evidence is irrelevant to the crimes charged and is therefore excludable under

Rule 401. Even were it relevant, it would not pass muster under Rule 403, as it would be unfairly

prejudicial to the Government, misleading to the jury, and a waste of time.

       Count Three of the Superseding Indictment, which charges the defendant with conspiring

to violate IEEPA, relies on OFAC’s still-valid sanctions against the Lazarus Group, not the

Tornado Cash pools. As the Court noted in denying the defendant’s motion for reconsideration,



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Van Loon has no bearing on the validity of that charge (or on the validity of Counts One and Two).

(See Dkt. 127 at 1-3).

       As the Indictment indicates at paragraphs 74-75, evidence of the Tornado Cash sanctions

will be introduced principally to demonstrate the defendant’s consciousness of guilt. Immediately

after OFAC announced its sanctions on the Tornado Cash pools on August 8, 2022, the defendant

took affirmative steps to liquidate his and the other founders’ TORN holdings and made

suggestions about how to hide these funds. Ind. ¶ 75. In other words, confronted with the potential

illegality of his operation of the Tornado Cash service and the possibility of criminal action against

himself and his assets, the defendant’s first instinct was to secret away the proceeds of his crimes,

presumably for fear that they could be seized by law enforcement. That an appeals court in Texas

would invalidate the Tornado Cash sanctions more than two years later simply has no relevance

to the defendant’s guilt or innocence with respect to the crimes charged. At the relevant time—

that is, August 2022—the defendant rightly thought he was in trouble and that is relevant to the

charges in the Superseding Indictment. Accordingly, Van Loon and any similar decisions that may

be issued prior to trial are irrelevant and any evidence or argument with respect to those decisions

should be excluded.

       Even if Van Loon were relevant to the charged crimes, introduction of any evidence or

argument regarding those decisions would be unfairly prejudicial to the Government. For example,

the defense could use these decisions to impermissibly garner sympathy for the defendant and thus

would invite jury nullification. The defense might also use these decisions to muddy the waters on

the defendant’s state of mind in August 2022 based on events that took place over two years later,

which would be misleading and confusing to the jury. And because evidence or argument with



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respect to these decisions would be both unfairly prejudicial and confusing, they would also be a

waste of time.

        For all of these reasons, the court should exclude any reference whatsoever to Van Loon or

any similar decisions at trial.

                                        CONCLUSION

        For the reasons set forth above, the Court should grant each of the Government’s motions

in limine.

                                                     Respectfully submitted,

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